             Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 1 of 83


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 9 Attorneys for Defendants
   Champion Petfoods USA, Inc. and
10 Champion Petfoods LP

11

12
                              UNITED STATES DISTRICT COURT
13                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

14
     JESIKA VADO, individually and on behalf    CASE NO.
15   of all others similarly situated,
16                       Plaintiff,
                                                NOTICE OF REMOVAL PURSUANT TO 28
17   v.
                                                U.S.C. § 1332(d)(2) BY DEFENDANTS
18   CHAMPION PETFOODS USA, INC. and            CHAMPION PETFOODS USA, INC AND
     CHAMPION PETFOODS LP, PET FOOD             CHAMPION PETFOODS LP
19   EXPRESS, LTD., and DOES 1 through 100,
     inclusive,                                 (CLASS ACTION FAIRNESS ACT)
20
                         Defendants.            Removed from the Superior Court of the State of
21                                              California Case No. RG18925590
22
                                                Removal Filed: November 21, 2018
23                                              State Court Action Filed: October 22, 2018

24

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                                          NOTICE OF REMOVAL
                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 2 of 83


 1          PLEASE TAKE NOTICE that defendants Champion Petfoods USA, Inc. and Champion

 2 Petfoods LP (collectively “Champion”) hereby remove the above-captioned action, Vado v. Champion

 3 Petfoods USA, Inc., et al., Case No. RG18925590 from the Superior Court of the State of California,

 4 County of Alameda, Oakland Division (the “State Court Action”) to the United States District Court for

 5 the Northern District of California, pursuant to the Class Action Fairness Act (CAFA), codified in

 6 relevant part at 28 U.S.C. §§ 1332(d) and 1453. Champion hereby provides a “short and plain statement

 7 of the grounds for removal” pursuant to 28 U.S.C. § 1446(a).

 8                                               BACKGROUND

 9          1.       On October 22, 2018, Plaintiff filed a putative class action against Champion Petfoods

10 USA, Inc., Champion Petfoods LP and Pet Food Express, Ltd. in the Superior Court of the State of

11 California, County of Alameda, Oakland Division. (A copy of the Summons and Complaint, along with

12 a copy of all other processes, pleadings, and orders served on Champion, is attached to this Notice as

13 Exhibit A.) The Complaint alleges that Champion deceptively marketed its Acana and Orijen brand pet

14 foods (the “Pet Food Products”) as “Biologically Appropriate” and “designed to nourish dogs and cats

15 according to their evolutionary adaptation to a diet rich and diverse in fresh meat and protein” when the

16 products allegedly contained “harmful chemicals, toxins and artificial and/or synthetic ingredients.”

17 (Compl. ¶ 1.)

18          2.       Plaintiff asserts claims for (a) negligent misrepresentation (id. ¶¶ 96-102); (b) violations

19 of California’s Consumer Legal Remedies Act, Ca. Civ. Code §§ 1750 et seq. (id. ¶¶ 103-111); (c)

20 violations of California False Advertising Law, Ca. Bus. & Prof. Code §§ 17500 et seq. (id. ¶¶ 112-

21 118); (d) violations of the Unfair Competition Law, Ca. Bus. & Prof. Code §§ 17200 et seq. (id. ¶¶ 119-

22 127); (e) breach of express warranty (id. ¶¶ 128-139); (f) breach of implied warranty (id. ¶¶ 140-151);

23 and (g) quasi-contract (id. ¶¶ 152-154). She asserts her claims on behalf of a putative class consisting of

24 all California residents who purchased Acana and/or Orijen products for household use from July 1,

25 2013 to the present (id. ¶ 85). Plaintiff seeks to recover actual damages, injunctive and declaratory

26 relief, and attorneys’ fees and costs. 1

27
     1
     Champion disputes Plaintiff’s factual and class-related allegations, as well as the legal conclusions in
28 the Complaint. Champion denies that Plaintiff or the putative class have been harmed in any way or are
   entitled to recover damages, restitution, or any other relief requested in the Complaint. Champion does
                                                       1
                                              NOTICE OF REMOVAL
                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 3 of 83


 1                                    REQUIREMENTS FOR REMOVAL

 2          3.       This removal is timely under 28 U.S.C. § 1446(b) because 30 days or less have passed

 3 since Champion was served with the Summons and Complaint. See Murphy Bros., Inc. v. Michetti Pipe

 4 Stringing, Inc., 526 U.S. 344, 47-48 (1999) (30-day removal period is not triggered until formal

 5 service); Big B Auto. Warehouse Distribs., Inc. v. Cooperative Computing, Inc., No. SC-00-2602, 2000

 6 WL 1677948, at *4 (N.D. Cal. Nov. 1, 2000).

 7          4.       Venue properly lies in the United States District Court for the Northern District of

 8 California, pursuant to 28 U.S.C. §§ 84(a) and 1441(a), because the State Court Action was filed in

 9 Alameda County.

10          5.       Pursuant to 28 U.S.C. § 1446(d), Champion is filing a copy of this Notice of Removal

11 with the clerk of the Superior Court of California, Alameda County and providing written notice of this

12 removal to Plaintiff by serving Plaintiff’s counsel.

13          6.       In accordance with 28 U.S.C. § 1446(a), copies of all processes, pleadings, and orders

14 served on Champion are attached collectively to this Notice as Exhibit A.

15          7.       Consent of all defendants is not required under 28 U.S.C. § 1453(b).

16                       REMOVAL OF THIS ACTION IS PROPER UNDER CAFA

17          8.       This Court has original jurisdiction over this case under CAFA, 28 U.S.C. §§ 1332(d)

18 and 1453. Under CAFA, United States District Courts have original jurisdiction over any civil action if:

19 (a) the proposed class contains at least 100 members; (b) none of the primary defendants is a state, state

20 official, or governmental entity; (c) there is diversity between at least one putative class member and

21 one defendant; and (d) the amount in controversy, after aggregating the sum or value of each proposed

22 class member’s claim, exceeds $5 million, exclusive of interest and costs. 28 U.S.C. § 1332(d).

23          9.       Based on the allegations as pled in the Complaint, which must be taken as true for

24 purposes of removal, and for the reasons set forth below, all requirements of CAFA are satisfied.

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26 ///

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28 not waive any of its rights or defenses, including jurisdictional objections, and expressly reserves the
   right to amend and supplement this Notice of Removal.

                                                      2
                                             NOTICE OF REMOVAL
              Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 4 of 83


 1 A.       The Proposed Class Consists of at Least 100 Members

 2          10.    Plaintiff’s Complaint seeks to certify a class consisting of “[a]ll California residents who,

 3 from July 1, 2013 to the present, purchased one or more of the Champion Petfoods ‘Acana’ and/or

 4 ‘Orijen’ brand-named Products at issue herein for household use, and not for resale (the ‘Class’).”

 5 (Compl. ¶ 85.) The proposed class excludes (i) Champion’s officers, directors, legal representatives,

 6 employees and co-conspirators; (ii) any parent companies, subsidiaries, and/or affiliates of Champion;

 7 (iii) all governmental entities; and (iv) any judge, justice, or judicial officer presiding over this action.

 8 (Id. ¶ 86.)

 9          11.    Champion’s Pet Food Products were purchased by thousands of California residents

10 during the period in question, July 2013 through November 2018. In addition, the Complaint alleges

11 that “[t]he Class is so numerous that joinder of all members is impracticable.”             (Compl. ¶ 88.)

12 Accordingly, the aggregate number of class members is greater than 100 persons for purposes of 28

13 U.S.C. § 1332(d)(5)(B).

14 B.       No Defendant is a State, State Official, or Governmental Entity

15          12.    No Defendant is a state, state official, or governmental entity.

16 C.       There is Minimal Diversity

17          13.    Diversity under CAFA exists if the citizenship of “any member of a class of plaintiffs is a

18 citizen of a state different from any defendant.” 28 U.S.C. § 1332(d)(2)(A). A corporation is deemed to

19 be a citizen of every state “by which it has been incorporated and . . . where it has its principal place of

20 business.” 28 U.S.C. § 1332(c)(1).

21          14.    Plaintiff alleges that she is a resident of California. (Compl. ¶ 13.) In addition, the

22 putative class in this case is limited to individuals who are California residents. (Id. ¶ 85.) Accordingly,

23 all members of the putative class are necessarily residents of California.

24          15.    Champion Petfoods USA Inc. is a Delaware corporation, with its principal place of

25 business located in Kentucky. (Compl. ¶ 15.) Champion Petfoods LP is a Canadian limited partnership

26 with its principal place of business in Edmonton, Alberta. (Id. ¶ 16.)

27          16.    Accordingly, CAFA’s minimal diversity requirement is satisfied.

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                                            NOTICE OF REMOVAL
              Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 5 of 83


 1 D.       The Amount in Controversy Exceeds $5 Million

 2          17.    To remove a case from state court, the defendant must plead only “a short and plain

 3 statement of the grounds for removal” setting forth “a plausible allegation that the amount in

 4 controversy exceeds the jurisdictional threshold.” The “defendant’s amount-in-controversy allegation

 5 should be accepted” just as the plaintiff’s amount-in-controversy allegation is accepted when a plaintiff

 6 invokes federal court jurisdiction. Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 551,

 7 553-54 (2014). If the plaintiff challenges defendant’s allegations, the defendant need only meet a

 8 preponderance of the evidence standard to satisfy the $5 million amount-in-controversy requirement.

 9 Rodriquez v. AT&T Mobility Servs. LLC, 728 F.3d 975, 977 (9th Cir. 2013).

10          18.    “The amount in controversy is simply an estimate of the total amount in dispute, not a

11 prospective assessment of defendant’s liability.” Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 400

12 (9th Cir. 2010). “In measuring the amount in controversy, a court must assume that the allegations of

13 the complaint are true and that a jury will return a verdict for the plaintiff on all claims made in the

14 complaint.” Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008).

15          19.    The amount in controversy includes claims for monetary damages, restitution, penalties,

16 attorneys’ fees if recoverable by statute or contract, and punitive damages. Guglielmino v. McKee

17 Foods Corp., 506 F.3d 696, 700 (9th Cir. 2007); see, e.g., Bayol v. Zipcar, Inc., No. 14-CV-02483-TEH,

18 2015 WL 4931756, at *8-10 (N.D. Cal. Aug. 18, 2015).

19          20.     Although the Complaint does not include a specific monetary demand, Plaintiff seeks to

20 recover actual and statutory damages, disgorgement and restitution of all revenues obtained by

21 Champion in selling the Pet Food Products to the putative class, and punitive damages, as well as

22 attorneys’ fees and injunctive relief. (Compl., Prayer for Relief at pps. 61-62.)

23          21.    While Champion denies that Plaintiff and the putative class are entitled to any damages,

24 Champion projects that the retail sales of its Acana and Orijen products to the putative class of

25 California residents were over $5 million in each and every year from 2013 through the present, and

26 thus, in the aggregate, far exceed CAFA’s $5 million amount-in-controversy requirement.

27          22.    Adding attorneys’ fees and valuing the injunctive relief sought by Plaintiff would only

28 serve to increase the amount in controversy further above the $5 million threshold. See Paul, Johnson,


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                                            NOTICE OF REMOVAL
               Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 6 of 83


 1 Alson & Hunt v. Graulty, 886 F. 2d 268, 272 (9th Cir. 1989); see Jasso v. Money Mart Express, Inc.,

 2 No. 11-CV-5500 YGR, 2012 WL 699465, at *7 (N.D. Cal. Mar. 1, 2012) (“[I]t is well established that

 3 the Ninth Circuit ‘has established 25% of the common fund as a benchmark award for attorney fees.’”);

 4 Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 347 (1977) (declaratory or injunctive

 5 relief relevant in determining amount in controversy).

 6                             RESERVATION OF RIGHTS AND DEFENSES

 7          23.     By filing this Notice of Removal, Champion does not waive any defenses that may be

 8 available, and reserves all such defenses, including those based upon improper or inadequate service of

 9 process and lack of personal jurisdiction. In addition, Champion does not concede that Plaintiff states

10 any claim upon which relief can be granted, or that Plaintiff or the putative class are entitled to any relief

11 of any kind or nature. If any questions arise as to the propriety of the removal of this action, Champion

12 respectfully requests the opportunity to submit additional papers and to present oral argument.

13          24.     The undersigned counsel has read the foregoing and signs this Notice of Removal

14 pursuant to Rule 11 of the Federal Rules of Civil Procedure, as required by 28 U.S.C. § 1446(a).

15          WHEREFORE, Champion hereby removes this action, which was previously pending in the

16 Superior Court of the State of California, County of Alameda, Oakland Division, Case No.

17 RG18925590, to the United States District Court for the Northern District of California.

18

19 DATED: November 21, 2018                        GREENBERG TRAURIG, LLP

20
                                           By      /s/ Michael D. Lane
21

22                                                 Rick L. Shackelford
                                                   Michael D. Lane
23
                                                   Attorneys for Defendants
24                                                 Champion Petfoods USA, Inc. and
                                                   Champion Petfoods LP
25

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                                             NOTICE OF REMOVAL
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 7 of 83




              Exhibit A
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 8 of 83
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                 Joshua
                 !oshua Anaya
                         Anay~ (SBN 265444)                                                          ALAMEDA COUNTY
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        Ill 6
                 Attorneys for Plaintiffand the Class
            7
                     8        .· [Aoo'L
                                 [Aoo'LCOUNSELONSIGNATUREPAGE]
                                        COUNSEL ON SIGNATURE PAGE]                                                             -- ·

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   .•.... .•....~
         -           9                              SUPERIOR COURT OF THE STATE OF CALIFORNIA                                                 ,. ._,__

                    10                                  COUNTY OF ALAMEDA, OAKLAND DIVISION
                    11              - . -                      RENE C. DA V;DSON CO~OUSE                               .       D
                    12   11
                             JESIKA~.ADO, Individually and on Behalf of I Case No.
                                                                                                 -      i8S2559
                    1 J-~I'! All Others Similarly Situated;-
                                                                             CLASS ACTION COMPLAINT FOR:
                    14
                                                          Plaintiff,         (I) NEGLIG~NT
                    15               V.                                      MISREPRESENTATION;
                    16                                                       (2) VIOLATIONS OF THE
                         1·1 CHAMPION PETFOODS USA, INC. and                 CALIFORNIA CONSUMER LEGAL
                    17 · CHAMPION PETFOODS LP, PET FOOD                      REMEDIES ACT;
                             EXPRESS, LTD., and DOES l through 100,          (3) VIOLATIONS OF THE
                    18 II Inclusive,                                         CALIFORNIA FALSE
                                                                             ADVERTISING LAW;
                    19
                                                                             (4) VIOLATIONS OF THE
                    20                                  Defendants.          CALIFORNIA UNFAIR
                                                                          -COMPETITION LAW;
                    21                                                 · --(5) BREACH OF EXPRESS
                                                                             WARRANTY;
                    22                                                     _ (6) BREACH OF IMPLIED
                                                                             WARRANTY; AND
                    23
                                                                             (7) QUASI-CONTRACT.
                    24
                                                                                         DEMAND FOR JURY TRIAL
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                               CLASS ACTION COMPLAINT
                           Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 10 of 83




                                    Plaintiff Jesika Vado ("Plaintiff'), individually and on behalf of all others similarly situated,
    2
                by and through her undersigned attorneys, as and for their Class Action Complaint against defendants
    3
                Champion Petfoods USA, Inc., ("Champion USA") and Champion Petfoods LP ("Champion LP") and
    4
                Pet Food Express, Ltd. (collectively, "Defendants"), alleges the following based upon personal
    s II                                                                     .           ..   . .... - ... ·- - .           .
                knowledge as to her and her own actions, and, as to all other matters, respectfully alleges, upon
    6
                information and belief, as follows (Plaintiff believes that substantial evidentiary support will exist for
    7
                the allegations set forth herein after. a reasonable opportunity   for discovery.):
                                                                             . ... ~        .  . .
                                                                                                .       .
    8
                                                                 NATURE OF THE ACTION
    9
                               . 1.        Plaintiff, individually and on behalf of all others similarly situated, by and through her
   10
                undersigned attorneys, bring this class action against Defendants for the deceptive practice of
   11
                marketing their high priced Acana and Orijen brand name dog and cat food products (the "Products")
   12
                as "Biologically Appropriate" and "designed to nourish degsaad-eats according to their evolutionary
   ]-3..
       II                             _,-                  ---
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          adaptation to a diet rich and diverse in fresh meat and protein[]" that is trusted by pet lovers
   14 ·M-- - -.:.-                                                                      · . · - ..      ·
                everywhere, when they contain harmful chemicals, toxins and artificial and/or synthetic ingredients. 1
                                                                                                    '                                                          .'
   15
                                    2.      Defendants prominently feature on their Product packaging and labels that they. are
   16
                comprised of fresh, quality, and'properly sourced ingredients and even declare thattheir pet food has
                                .                    .       .                                                  .   ··~-~       .            ..       .   ..
   17
                "ingredients we love." In fact,;h0·wever, the Products' packaging and labeling fail to disclose
                                                                                                        . .... ·.
                                                                                                                  thatthe
                                                                                                                     .. ·.          .
   18
                Products are contaminated because they contain heighten levels of arsenic, mercury, lead,. .cadmium
                                                                                                               ..                       '         '

   19
                and/or Bisphenol A ("BPA") - each of which are known to po?e health risks to humans and animals
   20
                                                         2
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  · 1-1         alike, as detailed below:
  2-1      -'-H, .   ·-a.o",


   22

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   24
                          1
   25                ·see The Gl~be and Mail, "How once-tiny pet-food maker took a bite of the global market," Ja~.
                16,         2018,        https://www.theglobeandmail.com/report-on-business/smal1-business/canadian-
   26           powerhouse-export-your-dog-is-eating-it/ai1icle37605774/ (last visited Oct. 7, 2018)~
                https://v,/vvvv.orijen.ca/us/
   27
                          2
                     Each of the Acana and Orijen branded pet food Products listed below is henceforth referenced to
   28           herein as the "Products."                                                         ·      ··      · ·
                                                                                 -1 -
                     CLASS ACTION COMPLAINT
           Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 11 of 83




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      CLASS ACTION COMPLAINT
              Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 12 of 83




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      CLASS ACTION COMPLAINT
                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 13 of 83




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          CLASS ACTION COMPLAINT
                Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 14 of 83
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    12     Bison, Arctic _
           Chae Rabbit
           D.ry~_._
    13     food
           OrijeoGrmn 791.20               32.20       87.20       1120     490.-80
    14     Free Pt:rr,y
           Chicken,
           Turley,
    15     Wild-Caughl ·:
         Fisli; Eggs.
         DryDog .
    16   !-=wd
         Acru.m .-              1510.70    40.10      112.20 ·    29.60      25~.10
    17                                                                                              ~... -_
         Singles
         Miltl:crcl
         and Greens
    18
                                arKnk       bpa                mercur)·
    19    Pn1d11ct -_-        . : uirper ni::11tr tldmlum       U( per· lead ll1!
         Nllmc                    kjl        i-1:    UR per kt    k,:    puk_i:
    20   Formula Dry
          Do.s_ Food
         Ac:ma ·                384. 80 . 5R. 30       24.40       6.40     l13!.<JO
    21   Herit.nge
          Me:rts
         Fotmul.i Dt}' ·
    22
         Dog Food : --
         Acana -_        373. 70           57.60       25.(,0      4.00      329.60
    23   Sing1C6: Pork :
         and Squssh _
         Formula Dr}·
    24   Dog f?<iu,d - .

    25
                         3.             Defendants manufacture, market, advertise, label, distribute, and sell cat and dog pet
    26
         food under the brand names Acana and Orijen throughout California, including in Alameda County
    27
    28
                                                                                        -5-
          CLASS ACTION COMPLAINT
         Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 15 of 83




     through online purchases and a slew of pet stores such as the 62-storc chain operated by Oakland,
 2
     California-based Defendant Pet Food Express, Ltd.
 3
             4.     By deceptively marketing, point of sale advertising, distributing and selling the
 4
     Products as natural with no artificial preservatives, when, in fact, their Acana and Orijen dog and cat
 5
     food products are full of heavy metals and/or chemicals like BPA and through false and misleading
 6
     advertisements and labeling claiming that the Products represent an "evolutionary diet" mirroring that
 7
     consumed by the grey wolfs of old, and free of anything "nature did not intent your dog [or cat] to
 8
     eat."
 9

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19
             5.     In fact, Defendants aggressively marketed that their Acana and Orijen brand pet food
20
     Products are "Natural And Not Synthetic," and/or that the primary ingredients are from natural sources
21
     to the point that they are "Deemed fit for human consumption."
22
23

24
25

26

27
         3
           See, e.g., https://acana.com/wp-content/uploads/2015/1 O/DS-ARCANA-Dog-Brochure-002.pdf
28   ; https://www.orijen.ca/us/foods/dog-food/fry-dog-food/tundra/.
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      CLASS ACTION COMPLAINT
                       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 16 of 83




               1

               2                                               · ---··· · · RANGH-RAISED MEATS · . .:. ... ,..:;,.. ....~_... .;;:; ~
                                      ~.~3~~li'ft•·;~tilir,• .,,1»~.1t-:ltl..• ..ii'triU~t.,_;~~.i1'f:t.~~'.rt••~\-~)~'Eh1~~i,~~~:.f't'i
                                      n~:~rUur_s.~1!'..rtr.e,-r•.~c~ UO\lt~Nlfl¥W.1i:n::t:.rt,h~~~fl'l_~tn.~~.,,~~ llt-3'.M 'YIU.1.
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               5                             FREE-RUH POULTRY AND                                                        WILD AND SUSTAINABLY
                                       · - · ·- NEST-LAID EGGS                                                      - -- - CAUGHT WHOLE FISH -- ·
               6                      Aa&N .,...,.~ t'! ~ fl'U"•-hl'TN _oed'd.f !\. ..,,-.r,.d'ldc.
                                      1td~•Jl5't' ,:y._,l~AJ•H! l'J' h.,,.,,i:,:,,~f!t.!4'1,.1~:t
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                                      r.:t~N%r"Wv,~~''°''·"'._tfl~.,.., ~~~tt.~,'tl"j ~.                                ..-1,~t~914' !"'t4..hJl'Qt1!1 ~lilf9\.

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              10
              11          6.      Defendants' advertisement and product labeling is deceptive to consumers under the
              12   consumer protection laws of California. Defendants have been unjustly enriched as a result of their
              13   conduct. For these reasons, Plaintiff seeks the relief set forth herein below.
              14       · ',~ · Plaintiff brings this proposed consumer class action on behalf of themselves and all
              15   other citizens of California, who, from the applicable limitations period up to and including the present,
              16   purchased for consumption and not resale any of Champion pet food Products directly or indirectly by
              17   or through the Defendants named herein.
              18
                                                                           JURISDICTION AND VENUE
              19
                          8.      This Court has jurisdiction over this action pursuant to Article 6, § 10 of the California
              20
-   -   ·-.
                   -~-~mst~tution, Civil Code § 1780( d), and Code of Civil Procedure §§ 382 and 410.10.
              21
                          9.      This Court has jurisdiction over Defendants because they have conducted and continue
              22
                   to conduct substantial business within California, including, inter alia, the promotion, advertising,
              23
                   distribution and sale of the Acana and Orijen pet food Products at issue herein.
              24
                           10.    Venue is proper in this Court pursuant to Code of Civil Procedure § 395 because
              25
                   Plaintiff Vado purchased Defendants' Products in San Francisco and Pacifica, California, within the
              26
                   applicable statute of limitations arid the resulting economic harm and damage occurred in both San
              27
                   Francisco and Alameda County. Since Defendant Pet Food Express, Ltd. is a California corporation
              28
                                                                                                                          -7-
                    CLASS ACTION COMPLAINT
                  Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 17 of 83




     1
              and headquartered in Oakland, California (and operates its 62-store chain of stores from its Oakland,
     2
              CA headquarters), venue is proper in Alameda County.
     3
                       11.           Having Defendants litigate Plaintiffs claims in California does not offend traditional
  4
              notions of fair play and substantial justice and is permitted by the United States Constitution. Plaintiff
  5
              ·arid allClass Members' claims arise in part from conduct Defendants purposefully directed to and
  6
              occurred in California. On information and belief, Defendants Champion USA and Champion LP' s
  7
              Acana and Orijen Products are sold at hundreds of local and California state-wide retailers in this State,
  8
              including, but not limited to, Defendant Pet Food Express, Ltd.
  9
                       12.           On further information and belief, Plaintiff alleges that Defe_ndants have, and continue
 10
              to, avail themselves of numerous advertising and promotional materials disseminated throughout
11
              California regarding contaminated pet food Products vis-a-vis advertisements and product labeling
12
              campaigns specifically intended to reach consumers in California, including but not limited to
                    -~ -         -                          ... ,.c;s-'~
13
              advertisements on local California television programs, radio broadcasts, product package labeling,
14                                                                                   ~
              advertisements on billboards in California, and advertisements in print and point of sale publications
15
              disseminated to consumers in San Francisco and Alameda counties and throughout the State of California.
16                                                      THE PARTIES
17                    13.            Plaintiff is, andifall times relevant hereto has been, a resident. citizen of the state of
18 II California. Plaintiff Jesika Vaci~ ("Vado") purchased the following Acana Regionals Grasslands
19 II Formula, Orijen Six Fish, Orijen Puppy, Orijen Puppy Large.dog.food as the primary food source for
20 II her dogs from Pet Food Express in San Francisco and Pacifica'on and or about July 2·s, 2018, August
21 II 1, 2018, August 15, 2018, August 29, 2018 and September 6,2018. Plaintiff Vado purchased the
22 II Products for her dogs Kali (a Pit/Bulldog mix) and Steel (an Australian Shepard).· Prior to ·
23       11   purchasing the Products, Plaintiff reviewed the nutritional claims on the packaging which she relied
24 11 on when deciding to purchase the Products at issue herein. During that time, and based on the false
                             .                                                                                .
25       11   and misleading claims, warranties, representations, store arid other media advertisements, and other
26 II marketing by Defendants, PlaintiffVado was unaware that the Products contained any level of heavy
27 II metals, chemicals, or toxins and would not have purchased the Product if that was fully disclosed'. ·
28
                                                                           -8-
              CLASS ACTION COMPLAINT
                                         Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 18 of 83




                         1
                                PlaintiffVado has suffered injury as a result of Defendants' actions by paying a premium price for.
                         2
                                the Product that, in reality, had no or de minimis value based on the presence of the alleged heavy
                         3
                                 metals, chemicals, or toxins had they been disclosed.
                         4
                                                 14.        As the result of Defendants' deceptive conduct as alleged herein, PlaintiffVado was
                         5
                                 injured when they paid the premium purchase price for the Products that did not deliver what was
                         6
                                promised. Plaintiff paid these sums on the assumption that this was for natural and non-synthetic pet
                         7
-   -    .   -   ··-·        _ ,, .. food free.of artificial. preservatives.and would not have paid this money had they.known that they
                         8
                                 contained artificial preservatives, toxic chemical and unnatural ingredients. Had she been. informed
                         9
                                 of the truth of Defendants' contaminated pet 'food, 'Plaintiff Vado would have purchased other
                        10
                                 products, which ~ere premium, natural.or did not contain-artificial preservatives or synthetic or toxic
                        11
                                 ingredients. Defendants promised Plaintiff Vado and other Class members natural and non-synthetic
                        12
                                 pet food free of artificial preservatives and toxic chemicals but delivered something else entirely,
                                                                                                          .......                                             w:
                        13
                                 thereby depriving them of the benefit of their bargain. Damages can be calculated through expert
                        14                       ---~                                                                                .            '   '




                                 testimony at trial. Further, should Plaintiff Vado encounterthe Products in the future, she could not
    ~.                  15
                                 rely on the truthfulness of the packaging, absent corrective changes to the package labeling and
                        16
                                 advertising of the Products.
                                                                                                                       ....   ··-·
                        17
                                                 15.        Defendant Champion Petfoods USA, Inc. ("Champion · USA") is incorporated in
                        18
                               · Delaware, and maintains its corporate headquarters and principal place of business at 12871 Bowling
        .. ----19
                                - Green RoacC Auburn, Kentucky 42206.               At all times material, all of the Products at issueherein were
                        20 -            -·
                                 manufactured, sourced, marketed, advertised and sold through Champion USA, and together with
                                -;,&'~••.• • ,   ···=:-,~     .                                                                                                    . •. __.,~,.• ~"'-- ..
                                 Champion LP was directly responsible for the false and deceptive product l.abeling alleged herein,- .
                        22
                                                 16.        Defendant Champion Petfoods LP ("Champion LP') is a Canadian limited partnership ···
                        23
                                 with its headquarters and principal place of business located at 11403-186 Street N.W. Edmonton,
                                                                                                                                         :   ..           .
                        24
                                 Alberta T5S 2W6. Defendant Champion LP is the sole owner of Champion USA and through that
                        25
                               · position operates and/or controls all facets of Champion USA's operations. Champion USA and
                        26
                                 Champion LP _are sometimes jointly referred to herein as the "Champion Defendants."
                        27

                        28
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                                   CLASS ACTION COMPLAINT
                                      Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 19 of 83




                                          17.    Defendant Pet Food Express, Ltd. ("PFE") is a California corporation whose corporate
                            2
                                  headquarters is located at 500 851h A venue, Oakland, California 94621. Defendant PFE owns and
                            3
                                  operates at least 62 retail stores in Northern and Central California and also markets/advertises,
                            4
                                  distributes and sells Acana and Origen Products both from its retail stores and through its corporate
                            5
                                  internet website operated and supervised from its Oakland, California, corporate headquarters.
                            6
                                          18.    The true names and capacities of defendants sued herein under California Code of Civil
                            7
.   .,. ..   _    -··             Procedure.section.s 7..4 as . DOES 1 through 100., .inclusive, are presently.unknown to-Plaintiff Vado, .
                            8
                                  who therefore sue these defendants by such fictitious names. Plaintiff will seek to amend this
                            9
                                  Complaint and include these DOE defendants' true names and capacities when they are ascertained.
                           10
                   .....   -- -   Each fictitiously-named defendant is responsible in-some manner- for the-illegal eonduct alleged herein
                           11
                                  and for the injuries suffered by Plaintiff Vado and the general public as a consequence thereof.
                           12
                   .    ----·
                          13
                              ·           19.    Defendants and the DOE defendants named herein have approved, ratified, controlled, ; _._. ..., ..
                                                      1                                                                                       I
                                  directed, had knowledge of, and/or otherwise been legally responsible for all aspects of the wrongful
                           14
         .--,... ...              acts and practices of certain DOE defendants and about which Plaintiff Vado complains. A unity-of
                           15
                                  interest exists between Defendants and certain DOE defendants such that justice dictates that any
                           16
                                  liability created by the acts and/or omissions of one be imposed upon the ?thers who should be held
                           17
                                  legally and financially responsible for all aspects of the wrongful acts and practices about which
                           18
                                  Plaintiff complains. Defendants are the alter-ego of certain DOE defendants and, accordingly, liability
                           19                           -   . - ----- -- ·--
                                  should be imposed upon the others on that basis.
                          20
                                         20.     In accordance with. California law, each of the Defendants are liable as a direct
                          21
                                  participant, aider and abettor, co-conspirator, enabler or is otherwise jointly responsible for the
                          22
                                  improper, unlawful, deceptive, misleading, unfair, and fraudulent acts and practices that._Defendants
                          23
                                  continue to conduct in this State to the detriment of Plaintiff Vado, Class members and members of
                          24
                                  the general public of California as well as Defendants' competitors.
                          25
                                          21.    Together, Defendants jointly formulated, developed, manufactured,                labeled,
                          26
                                  distributed, marketed, advertised, and sold the subject Products under the brand names Acana and
                           27
                                  Orijen throughout California, and in this County, during Class Period (defined ?~low). The
                           28
                                                                                    - 10 -
                                   CLASS ACTION COMPLAINT
                                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 20 of 83




                            advertising, labeling, and packaging for the Products alleged herein, and relied upon by Plaintiff Vado,
                     2
                            was prepared, reviewed, and/or approved by Defendants and their agents, and was disseminated by
                     3
                            Defendants and their agents through marketing, advertising, packaging, and labeling that contained
                     4
                            the misrepresentations alleged herein. The marketing, advertising, packaging and labeling for the
                     5
                            subject Products was designed to encourage consumers to purchase the Products and reasonably
                     6
                            misled the reasonable consumer, i.e., Plaintiff and the Classes, into purchasing the subject Products
                     7
          -·------·---- ··-H·_alleged   above.
                        8                                             FACTUAL ALLEGATIONS
                     9
                                        A. Defendants MMeaid~ngly Market Their Products as Natural and Free of Artificial
                    10                     Preservatives
                           ... - - -·2T -·Deienclanfs" foimufate, develop, manufacture, label, distribute, market, advertise, and
                    11
                            sell their exclusive, high priced Acana and Orijen lines of dry and wet pet food. Products across the
                    12
                            United States and in California though internet a1Yd dog and cat pet food retailers, such as Defendant
                    13
                 .. 14      PFE and others, and also including DOE Defendants 1 through 100, inclusive.

                                        23.   -·The Products at issue herein are available at other ~numerous retail and online outlets.
                    15
                                        24.      The Products are widely advertised throughout California to its resident citizens.
                    16
                                        25.      In addition to the "natural," "non-synthetic," and "no artificial
                                                                                                               ,.....
                                                                                                                      preservatives" claims
                    17                                                                                      .


                            on the front of each Product, the official Acana and Orijen websites display the Products' descriptions
                    18
                            and full lists of ingredients for most of the Products." The Products' webpages repeatedly. 'make
                    19
                            Defendants' "natural" and "no artificial preservatives" misrepresentations,
                   20
.,..•..                                 26.      Plaintiff purchased the Products which state on their labeling and/or on Defendants'
             ~     21                                                                                          -   ••   •••   ~       'D·•   ••.



                            website that they were "natural," "non-synthetic," and contain "no artificial preservatives:":
                   22
                                                                                                       . - --
                                   27. . By representing that the Products are "natural," "non-synthetic," and haverno artificial
                   23
                            preservatives," - and even are "deemed fit for human consumption" - Defendants sought   to capitalize
                   24                               .                                                  .     . .  .    . .  .     \



                            on consumers' preference for less processed products with fewer additives -. Consumers, such as
                   25
                            Plaintiff Vado, are willing to pay more for pet food products with no artificial or synthetic additives.
                   26

                   27
                                4
                                    Acana: (https://acana.com); Orijen: (https://orijen.ca), l~st visited Oct. 9, 2018.
                   28
                                                                                    - 11 -
                             CLASS ACTION COMPLAINT
                              Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 21 of 83




               1
                                   28.    In actuality, Defendants' Acana and Orijen Products are anything but safe and heathy
               2
                         for pets. For example, based on the risks associated with exposure to high levels of arsenic and heavy
               3
                         metals, both the U.S. Environmental Protection Agency ("EPA") and U.S .. Food and Drug
               4
                         Administration ("FDA") have set limits concerning the allowable limit of arsenic at 10 parts per billion
               5
                         ("ppb") for human consumption in apple juice (regulated by the FDA) and drinking water (regulating
               6
                         by the EPA). Apples to apples, apple juice is no different (in terms of arsenic levels) than pet food -
                7
                         -each-are-equally deadly- when EPA and-FDA limits of-this dangerous substance is allowed to-infiltrate
                8
                         the pet food chain. 5
                9
                                   29.    If arsenic was not bad enough, the subject pet food Products ai;;'cohiain lead, which
              10
                         'is anothercarcinogen and·developmental toxin known to cause-health problems. Exposure to lead in
              11
                         food builds up over time. Can pet food, constructed with the metals and chemical sealants used by
              12
•. ~. ·.,.;:...::_-=II   Champion U~f. and Champion LP in the production of the can container unit itself,               -~~~.J?~fl 1,..), ,_
               13
                         scientifically demonstrated to lead to the development
                                                                     .
                                                                                of chronic poisoning, cancer,
                                                                                                        .
                                                                                                              developmental,
                                                                            ,.
               14
                         and reproductive disorders, as well as serious injuries to the nervous system, and other-organs and
               15
                         body systems.
               16
                                   30.     Further, the Products
                                                           .· .
                                                                 at issue herein contain mercury, a heavy
                                                                                                       .•. .
                                                                                                             metal, .which
                                                                                                                      ··.
                                                                                                                           can cause
                                                                                                                          _.     .
               17
                                                                                                         •••••• p•••




                         damage to a canine's cardiovascular system, nervous system, kidneys, and digestive tract.6
               18
                                   31.     Continued exposure can also injure the inner surfaces of the digestive tract and
               19
                          abdominal cavity, causing lesions and inflammation. There have~· also been reports
                                                                                                        .    of lesions in
                                                                                                                        . ...
                                                                                                                              the
               20
                          central nervous systemIspinal.cord and brain), kidneys, and renal glands. Id.
               21                                     .. ...   -   . . ••
               22
               23             5
                                In fact, the FDA has issued warning letters to manufacturers on this issue. See, e.g., Warning
               24         Letter       from      FDA      to     Valley      Processing,      Inc.     (June     2, · · 2016),
                          https://w-ww.fda.gov/iceci/enforcementactions/watningletters/20 l 6/ucm506526.htm. See also, FDA
               25         Draft Guidance for Industry: Inorganic Arsenic in Rice Cereals for Infants: Action Level (April 2016)
                          (FDA consideration of limiting . arsenic in rice· cereals for infants), publicly viewable at:
               26         https:/fv.,vvw.fda.gov/downloads/Food/GuidanceRegulation/GuidanceDocumentsRegulatorylnforn1at
                          ion/UCM493152.pdf(last visited Oct. 7, 2018).
               27             6   https://wagwalking.com/condition/mercurv-poisoning (last visited Oct. 8, 2018).
               28
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                           CLASS ACTION COMPLAINT
                     Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 22 of 83
·•




       1
                          32.     Finally, the subject Products contain cadmium, yet another heavy metal, which, has
       2
               been observed to cause anemia, liver disease, and nerve or brain damage.in dogs and other animals
       3
               eating or drinking cadmium. The U.S. Department of Health and Human Services has determined that
       4
               cadmium and cadmium compounds are known human carcinogens and the EPA has likewise
       5
               determined that cadmium is a probable human carcinogen and, thus, equally damaging to cats and
       6
               dogs in their pet foods. 7

     _:__?_+I--- --- . - --3.3.   Indeed, the FDA has .acknowledged that '.'exposure ..to [lead.iarsenic, cadmium, and
       8
               mercury] metals are likely to have the most significant impact on public health" and has prioritized
       9
               them in connection with1tstteavy metals workgroup looking to reduce the risks associated with human
     10
           .Jl-e0nsumptionof heav-y-metals:8---· ·--- · -- - · ·
     11
                          34.     Despite the known risks of exposure to these heavy metals, Defendants have
     12
               negligently, recklessly, and/or knowinp,,lb,soJd,. their pet food Products without disclosing they
                                                        . ..,..                             ~-:
     13
               contained high levels of arsenic, mercury, cadmium and lead to consumers like Plaintiff. In fact,
     14
               Defendants· ·have publicly acknowledge that consumers "have deep feelings and a sense of
     15                                                                                '
               responsibility for the well-being of their dogs and cats.""
     16
                          35.     Additionally, Defendants knew or should have been aware ~t~at a consumer would be
. 17                                                                                               i, -


               feeding the subject pet food Products multiple times each day to his or her cat or dog, making it ~he
     18
               main, if not only, source of food for the pet. This leads to repeated exposure of the aforementioned
     19
               heavy metals to the animal.
     20
                          36.     Defendants have wrongfully and misleadingly advertised.and so.kt..the~_pet; food
     21
                                                                                                              ·•
                                                                                                                   ~ '~
                                                                                                                   •   '   I '       ~   ' l        •




               Products without any label or warning indicating to consumers that these products contain heavy
                                                                                                          .                      .   ~   ·.    ·.
     22

     23

     24             7
                   https://www.atsdr.cdc.gov/phs/phs.asp?id+46&tid+ 15, Sept. 2012 (pdf version); last visited Oct.
     25        8,2018.                                                                                     .
                    8
     26                 https://wv,,rw .fda. gov IF ood/F oodborneIII nessCon taminants/Metals/defaul t.htm
                    9
     27           https://www.theglobeandmail.com/amp/rep011-on-business/small-business/canadfan- ·
               powerhouse-export-yom-dog-is-eating-it/article37605774/.
     28
                                                                      - lJ -
                CLASS ACTION COMPLAINT
                                       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 23 of 83




                            metals and/or toxins that can, over time, accumulate in the cat and/or dog's body to the point where
                  2
                            poisoning, jnjury, and/or disease can occur.!"
                  3
                                      37.    Defendants' omissions are material, false, misleading, and reasonably likely to deceive
                  4
                            the public. This is true especially in light of the long-standing campaign by Defendants to market the
                  5
                            subject pet food Products as healthy and safe to induce consumers, such as PlaintiffVado, to purchase
                  6
                            the products. For instance, Defendants market the Products as "Biologically Appropriate," using
                  7
                        :Jr~fill_R~j_o_na.Ungr_ed_ie.ots: comprised of .100 percent meat, poultry, fish, and/or vegetables.both on.i.
                  8
                            the products' packaging and on Defendants' internet websites.
                  9
                                      38.    Moreover, Defendants devote significant web and packaging space to· theffi"arketing of
                10
                            their DogStar® Kitchens, which they tell consumers "arethe most-advanced-pet-food-kitehens on
                11
                            earth, with standards that rival the human food processing industry."
                12
           -~;.~~.~~~.,r-             39.  Defendants state on their website that the Orijen pet foods "feature[] unmatched a_nd'='!=·:;:-····ri- _
,.-             13                            ··-·
                            unique inclusions of meat, naturally providing everything your dog or cat needs to thrive." Defendants
                14
                            further promise on the products' packaging and on its website that its Orijen and Acana pet foodsare
      '<        15                                                                                  '
                            "guaranteed" to "keep your dog happy, healthy, and strong."!'
                16
                                      40.    Using such descriptions     and promises makes Defendants'. ~ advertising campaign
                                                             .::: ..'.·.                                           .
                17
                            deceptive and misleading based d1{~~resence of heavy metals in the subject P·~oducts. Reasonable
                18
                            consum~rs, like Plaintiff Vado, would consider the mere inclusion of heavy metals in the Acana and
                19
                            Orijen Products as a material fact in considering whatpet food to purchase. Defendants' above-
                20
                            referenced statements, ~~Q!'~Sen_~~~--P.c!rti~l disclosures, and omissions are false, misleading, and
                21                                     .          ~ .•. -        .
                            crafted to deceive the public as they create an image that the Products are healthy, safe, and free of
                                                                                                                   ·.              .
                22
                            contaminants such as arsenic; cadmium and lead.' Moreover, Defendants knew or should have
                23
                            reasonably expected that the presence of heavy metals in its Acana and Orijen pet food Products is
                24
                25 ·            !OSee,     e.g.,
                            https://v.,rv.;v11.petfoodexpress.com/products/search/#/products/results/search&category=&kevwords=a
                26          cana;                                         .
                            https://,v,v\\1.petfoodexpress.com/products/search/#/products/results/search&category::;:&kevwords=
                27          orijen (last visited Oct. 18, 2018).                                          ·
                28              11
                                     See footnote 4, supra.
                                                                               .. 14 -
                             CLASS ACTION COMPLAINT
                      Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 24 of 83




           1
                  something an average consumer would consider in purchasing pet food. Defendantf. ;ep;e~entations
           2
                  and omissions are false, misleading, and reasonably likely to deceive the public.
           3
                         41.     Moreover, a reasonable consumer, such as Plaintiff and other members of the Class (as
           4
                  defined hereinbelow), would have no reason to not believe and/or anticipate that the Acana and Orijen
           5
                  pet food products at ls sue herein are "Biologically Appropriate" foods that use "F;esh Regional
           6
                  Ingredients" consisting only of meat, poultry, fish, and vegetables. Nondisclosure and/or concealment
           7
                 .of.the.chemicals and-toxinsin.the.Products coupled with- the- misrepresentations alleged herein by
           8
                  Defendants suggesting that the pet food provides complete health and is safe is intended to and does,
           9
                  in fact, cause consumers to-pti"°fchase a product Plaintiff Vado and members of the classes not have
          10
     ---··-- -   -bought-·if-the-tme-quality-and·-ingredients-were disclosed.: As-a Tesult-ofthese·false-or-misleading ·
          11
                  statements and omissions, Defendants have generated substantial sales of the subject Products.
          12
                         42.     The expectations of reas3n~bJ.e.,co~sumers and decepti~n of these consumers by
          13
                  Defendants' advertising, misrepresentations, packaging, labeling is further highlighted by the public
          14                                                                -
                  reaction to this-lawsuit as reported=by various websites, accessible by the resident citizens of
'•        15
                  California.
          16
                                 B.     Bisphen'tif-A Is a Highly Dangerous and Toxic Substance That Was
          17                            Knowingl_y Concealed By Defendants in Their Pet Food Products
                                                 .   ·- :···                                                       ..
          18             43.     The dangers of BPA in human food are recognized by the FDA, along with various
          1-9     states, including California. For instance, manufacturers and wholesalers are prohibited from selling
                                                                                  ,:·
          20      any children's products that contain BPA and any infant formula, baby food, or toddler food stored in
          21      containers with intentionally added BP A.
          22             44.     Still, certain pet food Products are sold by Defendants that contain.levels.of BPA- an
          23      industrial chemical that '"is an endocrine disruptor. It's an industrial chemical that according to.
                                                                                                          ..
          24      Medical News Today' ... interferes with the production, secretion, transport, action, function and
          25
          26
          27
          28
                                                                   - 15 -
                   CLASS ACTION COMPLAINT
                      Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 25 of 83




            1
                  elimination of natural horrnones."'12 BPA has been linked to various health issues, including
            2
                 .repJ,Q_du~tive disorders, heart disease, diabetes, cancer, and neurological problems.P
            .,
            .)

                           45.   Despite the presence of this harmful chemical, Defendants prominently warrant, claim,
            4
                  feature, represent, advertise, or otherwise market the subject pet food Products as made from
            5
                  "Biologically Appropriate" and "Fresh Regional Ingredients" consisting entirely of fresh meat,
            6
                  poultry, fish, and vegetables. Indeed, each bag prominently displays the percentage of these
            7
. ·---·.          ingredients onthe.front.     ..
            8
                           46.   Defendants' website and packaging also warrants, claims, features, represents,
            9
                  advertises, or otherwise markets that its products are natural. In fact, Orijen's slogan is "Nourish as
           10
                 , __Nature Intended.~--------- - - -- -                     - --~-   .. ·-- -           --   -·- - -
           11
           12
           13
           14
           15
           16

           17                                                                                    - ··-

           18
           19
                           47.   In promoting their promise, warranty, claim, representation, advertisement, · or
           20
                                      .              -
                  otherwise marketing that the subject pet food Products are safe and pure, Defendants further assure
           21
                  and warrants to its customers that the Products at issue in this matter are manufactured in such a way
           22
           23
           -24
                      12
                        See Dr. Karen Becker, A Major Heads Up: Don't Feed This to Your Dog, Healthy Pets (Feb.
           25     13, 2017), https://healthvpets.mercola.com/sites/healthypets/archive/2017/02/13/dogs-canned-food-
                  dangers.aspx. (last visited Oct. 6, 2018). Dr. Becker's article cited a recent study conducted by
           26     researchers at the University of Missouri which concluded "that even short-term feeding of canned
                  dog food results in a significant increase of BPA ... in dogs." Id.
           27
                      13
                        See Christian Nordquist, How does bisphenol A affect health?, Medical News Today (May 24,
           28     2017), https://www.medicalnewstoday.com/articles/221205.php. (last updated May 25, 2017).
                                                                   - 16 -
                   CLASS ACTION COMPLAINT
                            Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 26 of 83




                  1
                         that would prevent BPA and other dangerous chemicals and toxics through a closely: monitoring
                  2
                         quality control systems:
                  3
                                1.       BIOLOGICALLY APPROPRIATE
                  4                   State-of-the-Art Kitchens and Innovation Centre Advance Our Award-
                  5                   Winning Foods.

                  6                   Equipped with proprietary state-of-the art fresh meat processing technologies that
                                      allow greater meat inclusions than any other dog or cat foods in the.world, our
                  7                   award-winning kitchens and research centers are dedicated to advancing ACANA
                                      and ORIJEN: · · · · · ·                      ·-      ·· -··· ··   · ·· -· ··- - ·
                  8
                  9                     Our ongoing commitment to investing in food processing, food science and
                                       .research capabilities allows us continually advance our Biologically Appropriate
                 10                     capabilities, bringing ORIJEN foods ever closer to the natural diets of dogs and
                                     ·- cats-and-firmly-establishing ourselves as· leaders· in-the-global petfoodindustry.
                 11

                 12
                 13
                                2.        FRESH REGIONAL INGREDIENTS
~----· _:,i.     14
                                      · ·~Fresh Meats Are the-Foundation of Our Biologically Appropriate Foods.
    '~:.   -   _ 15                                                                          '
                                       Our kitchens house over 50 different fresh regional meat, poultry and fish
                 16
                                     · ingredients, as well ':as a variety of local produce.
                 17                                                                                     ... ,_.~-,

                                      Our fresh ingredienthandling, cooking and sequential drying technologies are all
                 18                   specifically designedto support the dramatic meat inclusions in ORIJEN foods
                                      (all from animals fit for human consumption-a rarity among pet food producers):
                .19 ..
                20                    Put simply, our kitchens and fresh regional ingredient capabilities are u~atched
                                      by any other pet food maker anywhere.
                21
                                3.        NEVER OUTSOURCED
                22
                                      We've Been Preparing Award-Winning Dog and Cat Foodsin Our Ow~ - ·
                23                    Kitchens For Over a Quarter Century.
                24
                                      That's why we n:ever outsource-we don't make foods for anyone else and we
                25                    don't allow anyone else to make our foods either. No other North American pet
                                      food brand can make this commitment.
                26
                27
                28
                                                                             - 17 -
                          CLASS ACTION COMPLAINT
                                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 27 of 83




                                              We design, build our own kitchens and we create and produce our own foods, so
                        2                     you can have confidence in knowing where your food comes from.14

                        3
                                        48.      Thus, Defendants engaged in deceptive advertising and labeling practice by expressly
                        4
                              warranting, claiming, stating, featuring, representing, advertising, or otherwise marketing on Acana
                      5
                              and Orijen packaging labels and related websites that the subject pet food Products are natural, fit for
                      6
                             -human
                               - .... - - consumption,_
                                          - . . .. - ·---
                                                  .       fit for canine consumption, and made from "Biologically .Appropriate" and
                      7
                              "Fresh Regional Ingredients" consisting entirely of fresh meat, poultry, fish.and vegetables when they
                      8
                              contain the non-naturally occurring chemical BP A.
                      9
                                       49.      Based on these false representations, Defendants charge a premium, knowing that the
                  10
---------·   ___ ,_, ~Jaim.e.d_naturaLmake-up-of.-the subject pet food 'Products (as well asalfofthe other alleged false
                  11
                             and/or misleading representations discussed herein) is something an average consumer would consider

             -
                  12
··;-•~":'                    as a reason in picking a more expensive dog food. By negligently and/or deceptively representing,
                 . 13
                             marketing, and advertising the subject pet food Products as natural, fit for human consumption, fit for
                  14
                             canine consumption, natural, and made from "Biologically Appropriate" and "Fresh Regional
                 15                                                                              .   ~
                             Ingredients" consisting entirely of fresh meat, poultry, fish, and vegetables, Defendants wrongfully
                 16
                            capitalized on, and reaped enotrtious profits from, consumers' strong preference for natural pet food
                 17           .                                                                      .  ,. ...              .
                            products.
                 18
                                      C. Heavy Metals Create Known Risks When Ingested
                 19
                                      50.      Toxins like arsenic, mercury, cadmium and lead can cause serious illness to humans
                 20
                            and animals. A company-sr.ou-!<l-be vigilant to take all reasonable steps to avoid causing family pets
                 21
                            to ingest these toxins. 15
             . 22
                                      51.      Arsenic is a s~n1i-inetallic element in the periodic table. It is odorless and tasteless.
              23
                            Arsenic occurs naturally in the environment as an element of the earth's crust; it is found. in rocks,
              24
                            soil, water, air, plants, and animals. Arsenic is combined with other elements such as oxygen, chlorine,
              25
                            and sulfur to form inorganic arsenic compounds. Historically, arsenic compounds were used in many
             26
             27                14
                                    See https://www.orijen.ca/northstar-kitchens/ (last visited Oct. 8, 2018).
             28                15
                                    See footnotes 5 - 8, supra.
                                                                                - 18 -
                            CLASS ACTION COMPLAINT
                                  Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 28 of 83




                       1
                             industries, including: (i) as a preservative in pressure-treated lumber; (ii) as a preservative in animal
                      2
                             hides; (iii) as an additive to lead and copper for hardening; (iv) in glass manufacturing; (v) in
                      3
                             pesticides; (vi) in animal agriculture; and (vii) as arsine gas to enhance junctions in semiconductors.
                      4
                             The United States has canceled the approvals of some of these uses, such as arsenic-based pesticides,
                      5
                             for health and safety reasons, but its use still continues to this day in some industries. Some of these
                      6
                             cancellations we~~- based on · voluntary withdrawals by_ producers. For example, manufacturers of
                      7
                            __arsenic-basedwood preservatives voluntarily withdrew their products in 2003 _due to-safety concerns,
                      8
                             and the EPA signed the cancellation order. In the Notice of Cancellation Order, the· EPA stated that it
                      9
                             "believes that reducing thepotential residential exposure to a known human carcinogen is desirable."
                     10
             - --   ... -   .. Arsenic is anelement.that.does not degrade or disappearentirely OV€F-time.----·- ---- ---·· - - - -
                     11
                                     52.       Inorganic arsenic is also a known cause of human cancer. The relationship between
                     12
                             inorganic arsenic and cancer is well do<:um~~t.ed ~ithin the federal regulatory and medical community.
                     13                                             -Ji,..•••-                         . ""!!



                             As early as 1879, high rates of lung cancer in miners from the Kingdom of Saxony were attributed, in
---                  14
                     15
                             part, to inhaled arsenic. By 1992,-the combination of evidence from Taiwan and elsewhere was
                                                                                                                               _.:-J



    (;.,
                                                                                                  '
                             sufficient to conclude that ingested inorganic arsenic, such as is found in contaminated drinking water
                     16
                             and food, was likely to increase-the
                                                              .
                                                                  incidence of internal cancers. The scientific
                                                                                                         .      link to skin and lung
                     17
                             cancers is also particularly str6n.Ji and longstanding, and evidence supports conclusions that arsenic
                     18
                             may cause liver, bladder, kidney, and colon cancers as well.
                     19
                                     53.       Lead is a metallic substance formerly used as a pesticide in fruit orchards, but the. use
                     20
........ _                   of such pesticides is now prohibited in the United States and in the Stai~ pf CJiliforniil.J,&ad,
                                                                                                                 .      .  ..
                                                                                                                               unlike
                                                                                                                               :,·:

                     21
                             many other poisons, builds up in the body over time as the person is exposed to and ingests it, resulting
                     22
                             in a cumulative exposure which can, over time, become toxic and seriouslyinjurious to health. Lead·
                     23
                             poisoning can occur from ingestion of food or water containing lead. Acute or chronic exposure to
                     24
                             material amounts of lead can lead to severe brain and kidney damage, among other issues, and
                     25
                             ultimately cause death. The FDA has also set standards that regulate the maximum parts per billion
                     26
                             of lead permissible in water: bottled water cannot contain more than 5 ppb of total lead or 10 ppb of
                                           .                                                                                      .    ''.
                     27
                             total arsenic. ·See 21 C:F'.R. §165.l IO(b)(4)(iii)(A).
                     28
                                                                                 - 19 -
                              CLASS ACTION COMPLAINT
                                    Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 29 of 83
         -    '




                                       54.    Mercury is a known toxin that creates health risks to both humans and animals. The
                       2
                           ,. impact of the various ways humans and animals are exposed and ingest mercury has been studied for
                       3
                            years. In fact, in as early as 1997, the EPA issued a report to Congress that detailed the health risks to
                    4
                                                          16
                            both humans and animals.           Based on the toxicity and risks of mercury, regulations have been enacted
                    5
                            at both the Federal and California state level.
                    6
                                      55.    . .Likewise, cadmium is a known toxin that creates risk ·when ingested by animals or
                    7                                                                                                      .
             _____ _ Il.humans.clt has -been-specifically noted that "Kidney and bone effects have [J been observed in
                  8
                        laboratory animals ingesting cadmium. Anemia, liver disease, and nerve or brain damage have been
                  9
                        observed in animals eating or drinking cadmium."17

· -· - · · · ---·-IO- ··t1-·-·-··----o-Pure,
                  11
                                        .-- . and                                                 -------··-··- ... _ __
                                              Defendants Falsely Ad.vei11se the Products as N-;.tritious, Superior Quality,
                                                  Healthy While Omitting Any Mention of the Heavy Metals, as Well as
                                               Claim Their Pet Foods Are Natural, Pure, and Safe Despite the Inclusion of the
                  12 II                        BPA                                                         ·
    -                                                                                                                          --.',_.!-
                  13                  56.     Defendants formulate, develop, manufacture, label, package, distribute, market,
                  14       advertise, and sell their extensive Acana and Orijen lines of dry _?J1d freeze-dried pet food products
   i~.            15       across the United States, including the Products at issue herein. ~

                  16                  57.    In 2016, Defend:apts opened DogStar Kitchens, a 371,100 square foot production
                  17       facility on 85 acres of land -,.ou'tMa~- Bowling
                                                                   ,•--
                                                                            Green, KY. This facility has ·t11fcapacity to produce up
                  18       to 220 million pounds of Acana and Orijen pet food per year. The CEO of Champion Pet Foods, Frank
                  19       Burdzy, said, "The US is our fastest growing market." 18              Prior to this facility's· construction,
               20          Defendants' Acana and Orijen products were exclusively manufactured in Canada. Since thatfacility
                                       ·.- ~-.;;,. --- ..- .. ----
               21          began production, all Acana and Orijen foods sold in the United States are manufactured at the
               22          DogStar Kitchens' Bowling Green, Kentucky facility.
                                             ---.          --...:....-

               23

               24

               25
                               16
              26
                                    See https://www3.epa.gov/airtoxics/l l 2nmerc/volume5.pdf (last visited Oct.     9, '.2018).
                               17
                                    See https://"vww.cdc.gov/To~Profiles/tp5~c!-b.pdf. at pg. 5 (last visi.ted Oct. 9, 2018). ·
              27
                              18
              28
                                  See https://www.foodengineerin2.mag.com/artic1es/95994-champion-petfoods-open-dogstar-
                           kitchens at 2 (last visited Oct. 9, 2018).
                                                                       - 20 -
                            CLASS ACTION COMPLAINT
                                   Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 30 of 83




                                      58.              Defendants have represented that its DogStar Kitchens meet the European Union's
                   2
                              standard for pet food ingredients processing. They have also represented a.commitment to using fresh
                   3
                              and local ingredients, including wild-caught fish.
                   4
                                      59.              Defendants warrant, claim, state, represent, advertise, label, and market their Products
                   5
                              · as natural, fit for human consumption, fit for canine consumption, and made from "Biologically
                   6
                              Appropriate" and "Fresh .Regional Ingredients"_ consisting entirely of fresh meat, poultry, fish, and
                   7
                             . .vegetables; containing. "only l supplement - zinc;" "pro.vid[ing].a.natural source . of.virtually every
                                                                        - . . . . .. . . .   . . . . .   . ..
                   8
                              nutrient your dog needs to thrive;" and "guaranteed to keep your dog healthy, happy and strong."
                   9
                              Defendants therefore had· a duty to ensure that these statements were true. As such, Defendants knew
                 10
                             . or should have known-that-the-pet food Products at issue herein included-the presence of heavy metals
                 11
                              and/or BPA.
                  12
                                      60.              Likewise, by warranting, claiming, stating, featuring, representing, advertising or
                  13                  .     -· -   .     . . .. . . .         .                                             .             -                ....
                              otherwise marketing that Orijen and Acana pet foods, including the subject Products, are natural, fit
'---· -r:_-,-l-4-                                                                                                    ......
                              for human corisumption, fit for canine consumption, and made from "Biologically Appropriate" and
                                                                                                                                                                  ~-,---
-· -              15                                                                                                        -
                              "Fresh Regional Ingredients" consisting entirely of fresh meat, poultry, fish, and vegetables,
                  16
                              Defendants had a known duty to'ensure
                                                              ·.
                                                                    that there were no chemicals or toxins
                                                                                                        ..-.
                                                                                                             included in the Products.
                                                                                                                                    .
                  17                                                                                                              ~     -. i.. :---


                              In fact, Defendants offered further assurances by representing that the quality control over the
                 18
                              manufacturing of the Products as a rigid process free of outsourcing .
        . ·-·- - . .1.9 --                                                                                      -·- - .. --- ···-- ·--
                                      61.              Defendants specifically promise on their website, "[W]e prepare ACANA ourselves,
                 20
                              in our own kitchens, where we oversee every detail of food preparation ..-::...from where.our ingredients
~----            21 ·                                                                                                    l.-..- ..1:.


                              come from, to every cooking, quality and food safety process." Similarly, Defendants promise that
                                                                                                                                          ,., . .-- . : -~




                 22
                              their "Dogstar® Kitchens have access to a myriad of specialty family farms; with whom we partner
                 23
                              for our supply of trusted ingredients." Finally, Defendants' promise "[s]tandards that rival the human
                 24
                              food processing industry for authenticity, nutritional integrity, and food safety." According to the
                 25
                              Orijen and Acana websites, Defendants use "feature state-of-the-art fresh food processing
                 26
                              technologies." As such, Defendants knew or should have known that higher temperatures coupled with
                 27
                              the type of containers used in manufacturing. create a real risk of BP A in their
                                                                                                            .
                                                                                                                products.                             •.

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                                                                                                                - 21 -
                                CLASS ACTION COMPLAINT
                Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 31 of 83




                     62.       The Products at issue herein are available at numerous retail and online outlets in
       2
           .Califomia and are widely advertised in this State, and Defendants employ a Chief Marketing Officer,
       3
            a Vice President for Customer Engagement, and a Director of Marketing in both the United States and
       4
            Canada. The official websites for Acana and Orijen display the subjectProducts; descriptions and full
       5
           · lists of ingredients for these Products and includes the following promises:
       6
                                          .                     .                         .

       7                                  AWARD-WIHNIHG FOODS ANO TREATS
                                        · s.,:l,i-il!.,lilr ~~1:~,1i~ti,.• C'R jFtJ 1~Jit1.w11):.; ,..·i,._w,·LN. ••. :1 ltclt w~·ij,'lQ! i:i '"~~;..:, :;":f~ ~·:: . .J.":, :Ji~i11iti1 ,~ lt!Mr
                                        ·;;-~;J:•~~•l!}' ~1rtri.~ti~ l·: a J~f_;;~~ij~C dt.~r.-~·in it-P:i:. r:r.Ji: ~'1· r,~1c-in1                                            ~-.'_:· ..··: , .
       8                                  ·o;:-.JiU fru!n?V: Uftn!:Ututt l°VJ1r.t1~.c·d                    lr:,~t.   lm~rti, ;:u;ftrp•, w'S'l/..of\uJ. l:it1 <,;')-:. t./."•"/.ll   '"11:•\J~cj:f   h~'1'...rd,"':11rh·
                                        .· r~~,:,J ,"!\~.T,'j       '-:-   f,l'T~,J e- :;...~\C\1in ~-~ •~J~!'!   tr, ?f•.Plt ·p:- lr,Jnt : ,,d,ru:-1..,M ~-li•,,:1~,1,;, (iJf 1,,t;l,.:fr~~fly :.••, l~('./f-!
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                                         ·'it.rtlr,~1,,i>:~:rrt. ~#fi..tl~$,l'l~~llt!~                                   .                            ".




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                                        APPROP·RIAT£1M
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      14                                                                                                                                                                        ..           . •.. ·~
                                                                                                                                                                                     :...,                                •.   ~··-
     15

     16              63.       Defendants' internet websites repeat the false and misleading claims, warranties,

     17     representations, advertisements.jand other marketing about the subject pet-food Products benefits,
                                                                            .... ~·
     18     quality, purity, and natural make-up, without any mention of the heavy metals and/or BPA they
                       19
     19     contain.        This is not surprising giYen_Jhat natural pet.food sales represent over $5.5 billion in the

     20    United States and have consistently risen over the years. Id.

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                    See https://www.orijen.ca/us/; https://acana.com/usa/
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                                                                                                                               - 22 -
            CLASS ACTION COMPLAINT
                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 32 of 83




  2                  64.       Moreover, the Champion Defendants have expressly acknowledged the importance of
  3          quality pet food to the reasonable consumer:
  4                  "Our No. 1 mandate is BAFRINO - biologically appropriate, fresh regional
  5                  ingredients, never outsourced," said Frank Burdzy, president and chief executive
                     officer of Champion Petfoods in Canada, in an interview with the Daily News
  6                  Monday prior to housewarming activities outside and inside the kitchens. "We build
                     relationships-with our suppliers and farms and fisheries. We are trusted by-pet
  7                                        20
                     owners," Bt!rdzy~id.                                   ··- _              ·---·

  8                  65.       As a result of Defendants' omissions, a reasonable consumer (such as the Plaintiff)
  9          would,
                 . and did, have no reason to suspect the presence of heavy metals and/or BPA in the Products at
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IO ... _isJu~~~r~]It_~thou.t ~.9_nc1_u~ti}!g theirown scientific tests; or reviewing third-party _s_~t~9-tjfie:_ testing of
 11          these products.
12                   66.       However, after conducting "'third-party  scientific testing, it is clear that the Subject pet
                                                             ..•.. ! .•

13 11 'food Products do, in fact, contain levels of both heavy metals and/or I:lPA to the detriment of Plaintiff
14           and other ruejnbers of the Class theyseek to represent.                                                           --   ---
 15                  67.       Plaintiff brings this action individually and on behalf of all other similarly situated
16           resident consumers within who. purchased the Acana and/or Orijen branded pet food Products
17           identified in herein, in order to cause the disclosure of the presence ofheavymetals and BPA that pose
18           a known risk to both humans and animals in the subject Products, to correct the false and misleading
· 19        - perceptionDefendants have created in the minds of consumers that the Products are high quality.safe,
20     11    and healthy and to obtain redress for those who have purchasedsaid Products including tn
                                                                                                    efollowing:
21                                                                                                 •• --   ••••••••.. '!"~··




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                   See Charles Mason, Champion Petfoods DogStar Kitchens holds housewarming, Bowling Green
27           Daily News (Jan. 5, 2016), http://www.bgdailynews.com/news/champion-petfoods-dogstar-kitchens-
             holds-housewam1ing/article bf34275d-2242-5f3f-a9cc-14174235accl .html             ·· ·      ·
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              CLASS ACTION COMPLAINT
       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 33 of 83




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      CLASS ACTION COMPLAINT
            Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 34 of 83




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          CLASS ACTH)N COMPLAINT
       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 35 of 83




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     CLASS ACTION COMPLAINT
                                  Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 36 of 83




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                               CLASS ACTION COMPLAINT
       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 37 of 83




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                              CLASS ACTION COMPLAINT
                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 39 of 83




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              CLASS ACTION COMPLAINT
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              Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 40 of 83




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             CLASS ACTION COMPLAINT
             Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 41 of 83




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           CLASS ACTION COMPLAINT
       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 42 of 83




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     CLASS ACTION COMPLAINT
       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 43 of 83




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     CLASS ACTION COMPLAINT
                       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 44 of 83




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                      CLASS ACTION COMPLAINT
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               Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 46 of 83




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              CLASS ACTION COMPLAINT
                            Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 47 of 83
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                     CLASS ACTION COMPLAINT
            Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 49 of 83
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          CLASS ACTION COMPLAINT
        Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 50 of 83




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       CLASS ACTION COMPLAINT
       Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 51 of 83




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     CLASS ACTION COMPLAINT
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                       CLASS ACTION COMPLAINT
            Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 53 of 83
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          CLASS ACTION COMPLAINT
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                    Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 54 of 83




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                  CLASS ACTION COMPLAINT
                             Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 55 of 83




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                         CLASS ACTION COMPLAINT
                Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 56 of 83
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                               Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 57 of 83




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                              CLASS ACTION COMPLAINT
             Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 58 of 83
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                            DEFENDANTS "NATURAL" AND "NON-SYNTHETIC"
    14
                           MISREPRESENTATIONS VIOLATE CALIFORNIA LAWS
    15          68.     California law is designed to ensure that a company's claims about its products are
    16   truthful and accurate. Defendants violated California law by incorrectly (whether through shear
    17   negligence, inadvertence, recklessness or intentional conduct) claiming that' the pet food Products at
    18   issue are natural and devoid of synthetic chemicals and/or toxins/chemicals that are fit for canine
    19   consumption, made from "Biologically Appropriate" and "Fresh Regional Ingredients" and consisting
    20   entirely of fresh meat, poultry, fish, and vegetables that provided all the nutrients necessary for the
    21   owner's pet to thrive, and were "guaranteed" to "keep your dog happy, healthy, and strong."
    22          69.     Defendants' marketing and advertising campaign has been sufficiently lengthy in
    23   duration, and widespread in dissemination, that it would be unrealistic to require Plaintiff Vado to
    24   plead relying upon each advertised misrepresentation.
    25          70.     Defendants' Product advertising is also designed to persuade and convince the average
    26   pet owner consumer that the Acana and Orijen branded Products at issue herein are pure, healthy. Safe
    27   for consumption, and did not contain dangerous or harmful or synthetic ingredients, heavy metals and
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          CLASS ACTION COMPLAINT
                         Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 59 of 83




                     chemicals, such asarsenic, cadmium, lead, mercury, and BPA, and have engaged in this long-term
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                     advertising campaign to convince potential customers that the Products were devoid of unnatural/non-
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                     synthetic ingredients, and thus were safe for pets.
       4
                                               PLAINTIFF'S RELIANCE WAS REASONABLE
       5                                           AND FORESEEN BY DEFENDANTS
       6                    71.        Plaintiff Vado reasonably relied on Defendants' own statements, misrepresentations,

       7             and advertising concerning the particular qualities and benefits of the Products.
       8                    72.        Plaintiff read and relied upori the labels on the Products in making her purchasing

       9 II decisions, along with viewing the statements, misrepresentat.i.!2J1S; and advertising on Defendants'
      10       11    product packaging and labeling and internet websites. Any reasonable consumer would consider the
      11             labeling     of   Defendants'    Products   (as   well· as   the   other   false    and/or   misleading

      12             representations/advertisements as alleged herein) when deciding whether to purchase these Products.

      13....         Here, PlaintiffVado expressly relied on the specific statements and misrepresentations by Defendants

     -14 II that the subject .pet food Products were natural, .fit for canine consumption, and made from
      15             "Biologically Appropriate" and "Fresh Regional Ingredients": consisting entirely of fresh meat,

      16 II poultry, fish, and vegetables; '.~feature[ing] unmatched and unique inclusions of meat, naturally

      17       11    providing everything your dog 91\:at needs to thrive;" and were "guaranteed;' to "keep your dog happy,
      18             healthy, and strong" with no disclosure of the inclusion of heavy metals, inclU.dir,g ar.senic, cadmium,

.......... 19 .Jl.or-lead,-and.B.~A.---· ·--- · ·· · --
      20                    73.        A reasonable consumer would consider the advertised labeling of the subject Products
     · 21           -when deciding whether to purchase them. Here, Plaintiff Vado has directly relied .on the specific

      22            _ stat~ments, marketing and advertising materials and other and misrepresentations by Defendants

      23             alleged herein that the Products were natural and did not contain toxic chemicals, or artificial
      24             preservatives.

      25                          DEFENDANTS' KNOWLEDGE AND NOTICE OF THEIR BREACHES
      26                                OF THEIR EXPRESS AND IMPLIED WARRANTIES
                            74.        Defendants had sufficient notice of their breaches of their express and implied
      27
                     warranties. Defendants had, and have, exclusive knowledge of the physical and chemical make-up of
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                      CLASS ACTION COMPLAINT
                             Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 60 of 83




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                    the Products they produce, or in the case of Defendant PFE, market and sell directly to consumers in
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                    this County and throughout California.
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                                     PRIVITY EXISTS WITH PLAINTIFF AND THE PROPOSED CLASS
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                         _                       75.    Defendants knew that consumers such as Plaintiff Vado and the proposed Class (as
.. - - - - .. -·- .·. . . 5. . .. LI _ _ . _ . .       _. .
                                      defined herein) would be the end purchasers of the Products and the target of their advertising and
                           6
                                      statements.
                           7
                                                 76.    Defendants intended that their statement~ and representations would be considered by
                           8
                                      the end purchasers of the Products, including Plaintiff and the proposed Class.
                           9
                                                 77. · Defendants directly marketed to Plaintiff and the proposed Class through statements
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                                      on their website, labeling, advertising, and packaging.
                         11 ..
                                                 78.    Defendants have had sufficient notice of their numerous breaches of express and
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                                      implied warranties occurring within California and detrimentally affecting this State's resident citizens
         ·-· lJ=:::11- · ·               __:::_ · ·- -         - · .... ·-.     _:· ,_.,..._                 · -   -=-   .. ·   - -   -   ..


                    within the applicable statute of limitations. Defendants have also had exclusive knowledge of the
            14-                                                                           -----~ ,..,._..
                    physical and chemical makeup of the Products that are the subject of this action, including the BPA
            15                                                                                    '-
                    toxin.
            16
                               79.    Additionally, Defendants received notice of the contaminants in their pet food,
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                    including the subject Products.shrough their "Clean Label Project," which found higher levels of
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                    heavy metals and BP A in the Campion USA/Champion LP pet food Products.21 In fact, the Clean
            19                                                  -~- - - . ·---- -~---- ----- ~---- -·-
                    Label Project revealed to Defendants the dangerous and toxic nature of their Acana and Orijen
                                                         .                           '                 .
            20
                    branded products and even compared their pet foods-Products to .those of competitors; and gave
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                    Defendants' Products a one-star rating, meaning the Defendants' Products contained higher levels of
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                    contaminants than other pet food products on the market. Id. Defendants' direct involvement and
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                    communications by and between the Clean Label Project demonstrates their knowledge about the
            24
                    dangerous and toxic attributes of the subject Products.
            25

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            27               See Clean Label Project, "Orijen: Why Aren't You Listening to Your Customers?", at
                     http://wwvv.cleanlabelproject.org/orijen-customers/ (last visited Oct. 9; 2018).
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                      CLASS ACTION COMPLAINT
                                Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 61 of 83




                                    80.    Defendants also issued a white paper in defense of the Clean Label Project findings
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                            that acknowledges that their products contain heavy metals and BP A. 22 In that same White Paper,
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                            Defendants state "[w]e systematically test ORlJEN and ACANA products for heavy metals (arsenic,
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                            cadmium, lead and mercury) at two third-party laboratories."
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                                    81.    The White Paper discusses the sources of arsenic, cadmium, lead and mercury, and
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                            what Defendants contend to be acceptable levels of those heavymetals in pet food.
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     ·--·· ---,        .   ___ . _JZ.., _ Defendants did not widelydisseminate this White Paper or directly communicated its
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                            findings and conclusions to their customers, nor did they change their Product packaging or labeling
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                            to include a disclaimer that the Products contain any levels·oflliefieavy metals (or include a copy or
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                            reference of the White Paper findings on the Products' packaging or labeling).
           11                                       .     .
                                    83.    Defendants likewise had knowledge of the potential risk and inclusion of BP A in their
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                            Products. Defendants have publicly stated they ask their suppliers if the packagiQgJ;q~s BPA while
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                            at the same time admitting that they in fact do ;ot perform any tests t~- confirm that the Products
           14                                  !f~;.:.:   ~

                            subject to this action are BPA free.
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                                    84.    Plaintiff Vado and the proposed Class are the intended beneficiaries of the expressed
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                            and implied warranties.
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           17                                                 \CLASS ACTION ALLEGATIONS                         ~-- •..
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           18                       85.    Plaintiff brings this action individually and on behalf of the following class pursuant to
           19. ·•-- Califurriia~ode_oLCjvjl Procedure § 3 78, on behalf of the following class:
                               All California resident citizens who, from July 1, 2013, to the present, purchased one or more
           20                  of the Champion Petfoods "Acana" and/or "Orijen" brand-named Products at issue herein for
           21 •• ~~ --··- · . Jto~·~Q_~s~Jt!1.d n~t for resale (the "Class").

           22                       86.    Excluded from the Class are the Defendants, any of their parent . companies;

           23               subsidiaries, and/or affiliates, officers, directors, legal representatives, employees, co-conspirators, all
                            governmental entities, and any judge, justice, or judicial officer presiding over this matter.
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                                 See                        http://WVvw.championpetfoods.com/wp-content/themes/champion-
           28               petfoods/res/research/Champion-Petfoods- White-Paper-Heavy-Metals. pdf.
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                             CLASS ACTION COMPLAINT
                            Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 62 of 83




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                                 87.            This action is brought and may be properly maintained as a class action. There is a
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                        well-defined community of interests··in this· litigation and the members of the Class are easily
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                        ascertainable.
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                                 88.             The members in the proposed Class are so numerous that individual joinder of all
           s.
                        members is impracticable, and the disposition of the claims of all Class members in a single action
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                        will provide substantial benefits to the parties and Court.
           7
                                 89.           · Questions of lawamrfacrcommon to PlaintiffVado and the Class include, but are not
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                        limited to, the following:
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                                               · (a) · ·· whether Defendants owed a duty of care to the Class;
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••   • - • -··-   •II   --- --   ···--   -··    ·co) .   whether Defendants represented and continue to represent that the Products are
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                        natural and do not contain toxic chemicals, heavy metals (such as arsenic, cadmium, or lead), synthetic
         12
                        ingredients, or artificia¥pr--@iE1'~1:Uives;
         13
                                                 (c)     whether Defendants' representations in advertising and/or labeling are false,
         14
                        deceptive, and misleading;
         15                                                                                         '
                                                 (d)     whether those representations are likely to deceive a reasonable consumer;
         16
                                                 (e)     whether: Defendants had knowledge that those representations were false,
                                                                                                                          ·-·-"'•:   ..
         17
                        deceptive, and misleading;
         18
                                                 (f)     whether Defendants continue to disseminate those representations despite
                                     . ---- . -- .                                -    - --    -   ~- -~-   --u- ~~"' -
         r9
                        knowledge that the representations are false, deceptive, and misleading; .
         20
                                                 (g)     whether a representation that a product is natural-and does not contain artificial
         21
                        preservatives is material to a reasonable consumer;
         22
                                                 (h)     whether Defendants' representations and claims that the Products are natural
         23
                        and do not contain artificial preservatives are likely to mislead, deceive, confuse, or confound
         24
                        consumers acting reasonably;
         25
                                                 (i)     whether Defendants violated California Business & Professions Code sections
         26
                        17200, et seq.;
         27
         28
                                                                                      - 53 -
                         CLASS ACTION COMPLAINT
                                            Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 63 of 83
                   ..



                                                            U)            whether Defendants violated California Business & Professions Code sections
                              2
-   ··-   -----                         175..00, et seq.;
                              3
                                                            (k)           whether Defendants violated California Civil Code sections
                              4
                                        1750, et seq.;
                              5
                                                            (l)'          whether Defendants were unjustly enriched;
                              6
          --   .    -·-·· -       ..                        (m)           whether Plaintiff Vado and the members of the Class are entitled to actual,
                                                                                                                •       ·.- ;   C •   •   •   •   ••   •   •   •   •   •   •   •   •   •   •




                              7
~-·   •••.••• _~-       ~~    - Q•·    .statutory, .. and.punitive damages; and., .. .
                              8
                                                            (n)           whether Plaintiff and members of the Class are entitled to declaratory and
                              9
                                        injunctive relief.
                          10
                                               . 90.     - Defendants engaged in a common course of conduct giving rise to the legal rights
                          11
                                        sought to be enforced by Plaintiff individually and on behalf of the other members of the Class.
                          12
                                       , Identical statutory violations and business practices and harms are involved. 1Jldi¥i¢1~~estions, if
                        . 13 ~~                                                                   .    .   ·-       .
                                        any, are not prevalent in comparison to the numerous common questions that dominate this action.
                          14                                            .:---h~·-=
                                                 91.        Pialntiff s claims are typical of Class members' claims in that they are based on the
                          15
                                        same underlying facts, events, and circumstances relating to Defendants' conduct.
                          16
                                                 92.        PlaintiffVado wHl fairly and adequately represent and prote~t the interests of the Class,
                          17
                                        have no interests that are inc6ri}patible with the interests of the Class, and have retained counsel
                          18
                                        competent and experienced in class action, consumer protection, and false advertising. litigation .
                        . 19
                                              . 93 .. - . Class.treatment is superior to other options for resolution of the controversy because
                         20                                   '    .;

                                       .. th~.r_~l_i~f ~QYght for eachClass member is small such that, absent representative litigation, it would be
                          21
                                        infeasible for Class members to redress the wrongs done to them.
                          22
                                                 94.        Questions of .}aw and fact common to the Class predominate over any questions
                          23
                                        affecting only individual Class members.
                          24
                                                 95.        As a result of the foregoing, Class treatment is appropriate.
                          25
                          26
                          27
                          28
                                                                                                      - 54 -
                                         CLASS ACTION COMPLAINT
                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 64 of 83




       1                                                     COUNTI
                                        (Negligent Misrepresentation Against All Defendants)
      2
                    96.      Plaintiff Vado incorporates -by reference and realleges each and every allegation
      3
           contained above, as though fully set forth herein.
      4
                    97.      Plaintiff reasonably placed their trust and reliance in Defendants that the Products
      5
           marketed and advertised to her and the Class were natural and did not contain artificial preservatives,
      6
           .chemical or toxins, including BP A..
      7
                    98.      Because of the relationship bet~een the -parties, ·the-Defendants owed· a duty· to use
      8
            reasonable care to impart correct and reliable disclosures concerning the use of unnatural ingredients
      9
           and arti:fidal ·p·reservatives in making the Products or, based upon their superior knowledge, having
     10
           -spoken; to-say enoughio notbe misleading.·· ··
     11
                    99.      Defendants breached their duty to Plaintiff and the Class by providing false,
     12
            misleading, and/or decep{i,11~~\~'fffiat-ion regarding the nature of the Products .
                                                                     = .--~·:::..~                 .
     .13                           ••   2                •     :




                    100.     Plaintiff and the Class reasonably and justifiably relied upon the information supplied
     14     ·-
            to them by the Defendants. As a result, Plaintiff Vado and the Class purchased the Products at a
'•   15                                                                                '
           prermum.
     16
                    IO I.    Defendants failed.,to use reasonable care in their communications and representations
     17                                         ......
            to Plaintiff Vado and the Class.-e
     18
                    102.     By virtue of Defendants' negligent misrepresentations, Plaintiff and the Class have
     19                                                                 -·   V   --   --   ~   -   -   ..---   ---




            been damaged in an amount to be proven at trial or alternatively,
                                                                         ~
                                                                              seek rescission and restitutionary
     20                                                                                                        .     .


            disgorgement under this count.
     21                                                      COUNtll~ ~--
     22                   (Violations of California's Consumer Legal Remedies Act; California Civil
                                         Code §§1750, Et Seq., Against-AU Defendants)-
     23
                    103.     Plaintiff Vado incorporates by reference and realleges each and every allegation
     24
            contained above, as though fully set forth herein.
     25·
                    104.     Plaintiff and each proposed Class member are a "consumer," as that term is defined in
     26
            California Civil Code section 1761 ( d).
     27
     28
                                                                   - 55 -
             CLASS ACTION COMPLAINT
                           Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 65 of 83




                             105.   The· Products are "goods," as that term is defined in California Civil Code section
 2
         U6l(a).
 3
                             106.   Each Defendant is a "person" as that term is defined in California Civil Code section
 4
         l 76l(c).
 5
                             107.   Plaintiff and each Class member's purchase of Defendants' Products constituted a
 6
        "transaction," as that term is defined in California Civil Code.section 176-t(e) ..                  _
 7
     .... ~-108.----Defendants' conduct alleged herein
                                                   .
                                                       violates
                                                          ..
                                                                the following provisions of.California's
 8
         Consumer Legal Remedies Act (the "CLRA"):
 9
                              - .. -(a)      California Civil Code section 1770(a)(5), by representing-that the Products are
10
         natural and contain ·no synthetic .ingredients or artificial-preservatives.+ .. ---- . ... -- - -- - - - · - - · · - ·
11
                                    (b)     California Civil Code section l 770(a)(7), by representing that the Products
12
         were of a particular standard, quality, or grade, when they were of another;
     .•.•.. -:;.
l3
                                    (c)      California Civil Code section 1770(a)(9), by advertising the Products with
14
         intent not to sell them as advertised; and
15
                                    (d)      California Civil Code section l 770(a)(l 6), by representing that the Products
16
         have been supplied in accordance with previous representations when theyhave not.
17
                             109.   As a direct andproximate
                                                    :
                                                             result of these violations,
                                                                                    .
                                                                                         Plaintiff
                                                                                              . and the Class have been
18
         harmed, and that harm will continue unless Defendants are enjoined from using the misleading
19                 .         -·-             - ,_   -
         marketing described _~erein in any manner in connection with the advertising and sale of the Products.
                                                                                     <
20
                       _   __l l 0 .. .Pursuant to § l 782(a) of the CLRA, and concurrent with the filing of this complaint,
21
         Plaintiff separately notified each of the Defendants through their registered agent for service of process
22
         inaccordance withg< l 770(a)(l) of the particular violations of.§ 1770 and demanded that Defendants
23
         correct, remedy or otherwise rectify the actions. described above and give notice to all similarly
24
         affected California consumer Class members of their intention to do so.
25
                             111.   In the event Defendants fail to respond to Plaintiffs demand within 30 days of service
26
         of such notice and demand for relief, pursuant to § 1782(d) of the CLRA Plaintiff will filed an
27
          amendment to this complaint to seek both injunctive relief and actual damages, plus punitive damages,
28
                                                                       - 56 -
              CLASS ACTION COMPLAINT
                          Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 66 of 83




              1
                     interest and attorneys' fees jointly against Defendants. Additionally, Plaintiff also seek to recover up
              2                                                                                                 .                    .
                     to $5,000 for each eligible senior citizen.and disabled.Class member who purchased Champion USA
              3
                     or Champion LP cat or dog pet food Products for their pets as provided for under § 1780(b) of the
              4
                     CLRA.
           - 5
                                                                   COUNTIII
              6                      (Violations of California False Advertising Law, California Business &
                                     · · · Professions Code §§17500, Et Seq., Against All Defendants)
              7
                            ··112~ ··· "Plalntiff'iricdrporatesbyreference and reallegeseach artd-every-a1le"gatioh contained
              8
                     above, as though fully set forth herein.
              9
                            · 113". · · California's False Advertising Law prohibits any statement in connection with the sale
             10
- --···- - - . ·--· --· lr·-of gooas"wnich is··untnie' or misleading."   CaL Bus. & Prof. Code § 1 ·7·50·0-:.
             11
                              114.     As set forth herein, Defendants' claims that the Products are natural and do not contain
             12
                     artificial preservatives a.re-'~~:.!IT}'f'illse and likely to i~c_eive the public.
             13
                              115.     Defendants' claims that the Products are natural and do .not contain artificial
             14
                     preservatives are untrue or misleading.
             15
                              116.     Defendants knew, or reasonably should have known, that the claims were untrue or
             16
                     misleading.                                                                                    ..~.
             17                                                                                                            -~




                              117.     Defendants' coridfict is ongoing and continuing, such that prospective injunctive relief
             18
                     is necessary, especially given Plaintiffs desire to purchase these Products in the future if they can be
            · 19
                     assured that, so long as the Products are advertised as natural and without artificial p~eservatives, or
             20
                     toxic chemicals or heavy metals, truly are "natural" and do not contairrarry'artificial preservatives.
             21.                                                                    -     - ~ ·:." ----   ,. ..... .. .,a.- -- ...
                              118.     Plaintiff and members of the Class are entitled to injunctive and equitable relief, and
             22
                     restitution in the amount they spent on the Products.
             23

             24                                                   COUNTIV
                                       (Violations of the Unfair Competition Law, California Business &
             25                           Professions Code §§17200, Et Seq., Against All Defendants)

             26               119.     Plaintiff incorporates by reference and realleges each and every allegation contained

             27 II above, as though fully set forth herein.

             28
                                                                               - 57 -
                       CLASS ACTION COMPLAINT
                               Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 67 of 83
          •




                                    120.    The Unfair Competition Law prohibits any "unlawful, unfair or fraudulent business act
                2
---··--                    or.practice." Cal. Bus. & Prof. Code § 17200.
                3
                           Fraudulent
                4
                                    121.    Defendants' statements that the Products are natural and do not contain artificial
                5
                           preservatives are literally false and likely to deceive the public.
                6
                ·-        Unlawful ·
                7
                .8        -· -~ ··· 122; · ··J\s alleged herein, Defendants have advertised 'the Products-with "false orrnisleading
                           claims, such that Defendants' actions as alleged herein violate at least the following laws:
                9
               10                                  • !.~~ C:~~. California ~u-~i_n._e~s_& Professions_ Code sections 1750, et
               11                   seq.; and
               12                                  • The False Advertising Law, California Business & Professions Code sections
                                                                                                           .-~~~
                                                                                                           ..                         .,..._..:-
               13          17500, et seq.
               14          Unfair
               15                   123.    Defendants' conduct with respect to the labeling: advertising, marketing, and sale of
               16    11    the Products is unfair because Defendants' conduct was immoral, unethical, unscrupulous, or
               17 II substantially injurious to consuTers and the utility of their conduct, if ~y:··does not outweigh th~
               18    11    gravity of the harm to their victims.
               19             ·-    124.    Defendants' conduct with respect to the labeling, advertising, marketing, and sale of
               20    11    the Products is also unfair because it violates public policy as declared by specific constitutional,
               21          statutory, or regulatory provisions, including, but not limited to, the False Advertising Law and the
               22         _CLRA.
               23                   125.    Defendants' conduct with respect to the labeling, advertising, marketing, and sale of
               24          the Products is also unfair because the consumer injury is substantial, not outweighed bybenefits to
               25          consumers or competition, and not one consumers', themselves, can reasonably avoid.
              · 26                  126.    In accordance with California Business & Professions Code section 17203, Plaintiff
               27          Vado seeks an order enjoining Defendants from continuing to conduct business through fraudulent or
               28
                                                                              - 58 -
                            CLASS ACTION COMPLAINT
                     Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 68 of 83
•




                 unlawful acts and practices and to commence a corrective advertising campaign. Defendants' conduct
      2
                 is ongoing and continuing, such thati:n:o.s.pective injunctive relief is necessary.
      3
                         127.             On behalf of herself and the Class, Plaintiff also seeks an order for the restitution of all
    :_ 4
                 monies from the sale the Products, which were unjustly acquired through acts of fraudulent, unfair, or
      5
                 unlawful competition.
      6                                                       COUNTV
                                                   . (Breach of Express Warranty, ·
      7                          California Commercial Code §2313, Against The Champion Defendants)
                          - •    • - -·     •   •• •   •   ·'••.   '   •   •   • •   ,.   ,.            •       •   -   •   .•   I   •   •   •, _.       •



      8                  128.             Plaintiff incorporates by reference and realleges each and every allegation contained
      9          above, as though fully set forth herein.
     10                  129.             As set forth herein, Defendants made express representations to Plaintiff and the Class
     11          that the Products were natural and did not contain artificial preservatives.
     12                  130.             These promises became part of the basis of the bargain between the parties and thus
                                                           :..~~;p:;?-~ -
     13 ·   11   constituted express warranties.
                                                                                                                                              .      .
     14                  131.             There was a sale of goods from Defendants to Plaintiff Vado and other Class members.
     15                  132.             On the basis of these express warranties, Defendants sold to Plaintiff Vado and the
     16          Class the Products.
     17                  133.             Defendants kndiifngly breached the express warranties ·by)nclµding one or more

     18          unnatural and/or synthetic and artificial ingredients in the Products,

     19.                 134. - Defendants knowingly breached -the-express warranties - by· including one or more

    20           artificial preservatives in the Products.
    21                   135.             Defendants were on notice of this breachas they were awareof'the included unnatural
    22           Ingredients and artificial preservatives in the Products. .                                _
    23                   136.             Privity exists because Defendants expressly warranted to Plaintiff Vado and the Class

    24      11   that the Products did not contain preservatives through the marketing and labeling.
    25                   13 7.            Plaintiff and the Class reasonably relied on the express warranties by Defendants.
    26                   13 8.            As a result of Defendants' breaches of their express warranties, Plaintiff and th~ Class
    27           sustained damages as they paid money for the Products that were not what Defendants represented.
    28
                                                                                               - 59 -
                  CLASS ACTION COMPLAINT
                              Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 69 of 83
         •



               I
                                  139.   Plaintiff Vado, on behalf of herself and the Class, seeks actual damages for Defendants'
               2
                          breach of warranty.
               3                                                  COUNT VI
                                         (Breach of Implied Warranty, California Commercial Code §2314,
             ·. 4
                                                       Against The Champion Defendants)
               5                  140.   Plaintiff incorporates by reference and realleges each and every allegation contained
               6 II .above, as though fully set forth herein.
               7                  141.   As set forth herein, Defendants made affirmations of fact on the Products' labels to

               8. 11 Plaintiff Vado and the Class that the Products were natural and free of artificial preservatives.
               9                  142.   The Products did not conform to these affirmesicss-and promises as they contained
             10      11   unnatural ingredients and artificial preservatives.
             11                   143.   These promises became part of the basis of the bargain between the parties and thus
             12           constituted express warranties.
             13-:-
                                  144. - Defendants are merchants engaging in the sale of goods-to Plaintiff and the Class.
             14                   145. - -There'wss a sale of goods from Defendants to Plaintiff and the Class members.
  t.         15                   146.   Defendants breached the implied warranties by' selling the Products that failed to
             16           conform to the promises or affirmations of fact made on the container or label as each Product
             17           contained o~e or more artificialpreservatives.
             18                   147.   Defendants were on notice of this breach as they were aware of the unnatural
- ·-- - --· - _ _19 __ -ingredients-ineluded-in-the Products· (including the existence of heavy metals and BP A} · · -
             20                   148.   Defendants were on notice of this breach a·s they were aware of the artificial
             21           preservatives-toxins and-harmful heavy metals contained in the Products.
             22              ·   149. -·- Privity
                          ---~            .-... . exists because Defendants expressly warranted to Plaintiff and the Class that
             23           the Products were natural and did not contain artificial preservatives, heavy metals or toxins through
             24           the advertising, marketing, and labeling.
             25                  150.    As a result of Defendants' breaches of their implied warranties of merchantability,
             26           Plaintiff and the Class sustained damages as they paid money for the Products that were not what
             27           Defendants represented.
             28
                                                                            - 60-
                           CLASS ACTION COMPLAINT
                                 Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 70 of 83
               •



                        1
                                     151.       Plaintiff, on behalf of herself and the Class, seek actual damages for Defendants' breach
                        2
                             of warranty.
                        3                                                  COUNT VII
                        4                                     (Quasi-Contract Against All Defendants)
                                     152.       Plaintiff incorporates by reference and realleges each and every allegation contained
... -· ....             5
                             above, as though fully set forth herein.
                        6
                                     153.       Defendants unjustly retained a benefit at the expense of Plaintiff'Vado and the members
                        7
                             of the Class· in the form of substantial revenues and payments from Plaintiff and the members of the
                        8
                             Class for the Products and from Defendants' conduct in misrepresenting the Products in labels. and
                        9    -r~ ~ '"- -          ·-

                            'advertisements, including in store advertisements posted by Defendant PFE and DOES I thought I 00._
                    10
                                  - 154.        Based on the mistake, Plaintiff and the members of the Class paid (or the Products for
                    11
                            a price materially higher than that which would have received had the true facts been disclosed to
                   12
                            Plaintiff and other members of the Class .
       . . ... '-.C..J3.                    - - -- ·-. ----
                                                                      PRAYER FOR RELIEF
                   J4 ,
                                    WHEREFORE, Plaintiff Vado, on behalf of herself and aJl others similarly situated, prays for
                   15
                            judgment against the Defendants as to each and every count, including:
                   16
                                    A.         An order declaring this action to be a proper class action, appointing Plaintiff Vado and
                   17
                            her counsel to represent the Class, and requiring Defendants to bear the costs of class notice;
                   18
                                    B.         An order enjoining Defendants from selling the Products in any ~~~~ s_ug~~~ting or
--········ ... - .19
                            implying that they are natural and free of artificial preservatives? heavy_!}1etals, toxins and dangerous
                   20
                            chemicals;
                   21
                                    C.         An order requiring Defendants to engage in a corrective advertising campaign and
                   22
                            engage in any further necessary affirmative injunctive relief," such as recalling existing products;
                   23
                                   D.          An order awarding declaratory relief, and any further retrospective or prospective
                   24

                 ·25        injunctive relief permitted by law or equity, including enjoining Defendants from continuing the

                            unlawful practices alleged herein, and injunctive relief to remedy Defendants' past misconduct;
                   26
                                   E.         An order requiring Defendants to pay restitution to restore all funds acquired by means
                   27
                            of any act or practice declared by this Court to be an unlawful, unfair, or fraudulent business act or
                   28
                                                                                 - 61 -
                             CLASS ACTION COMPLAINT
                                    Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 71 of 83
           .e:,

 '-   '

                   1
                             practice, untrue or misleading advertising, or a violation· of the Unfair Competition Law, False
                   2
                             Advertising Law, or CLRA, plus pre- and post-judgment interest thereon;
                   3
                                           F.       An order requiring Defendants to disgorge or return all monies, revenues, and profits
                  4
                             obtained by means of any wrongful or unlawful act or practice;
                   5
                                           G..      An order requiring Defendants to pay all actual arid statutory damages permitted under
                   6
                             t~e caus_e~. of action alleged herein; .
                   7
                                           H.       An order requiring Defendants to pay .punitive ..damages__on.any .cause of action so
          ·- - --g- ·· rr·-·   -_·. _...        .
                             allowable;
                        II

                   9.
                                           I.       An order awarding attorneys' fees anc:ffos1sfo Plaintiff and the Class; and
                  10
                                           J.       An order providing for all other such equitable relief as may be just and proper.
                  11
                                                                               JURY DEMAND
                  12
                                           Plaintiff Jesika Vado hereby demands a trial by jury on all is~lJ&'i'~ J{3~.ble.
                  13
                             DATED: October Zc, 2018                                       Respectfully submitted,
                  14

,,                15

                  16
                                                                      "
                                                                      ··:·                               insk
                  17                                                                       Joslfiia C. Anaya    · •. ,,··
                                                                                           550 West C Street, Suite 1760.
                  18
                                                                                           San Diego, CA 92101-3593
          ·---.1.~L                                                                        Telephone: (619) 238-1333
                                                                                           Facsimile:.(619) 238-5425
                  20                                                                               -ahd.:...
                                                                                            Mark L. Knutson, Esq. (SBN 131770)
           . -2                                                                             Law Offices of Mark L. Knutson, APC
                                                                                            1554 Plantation Way
                  22
                                                                                            El Cajon, CA 92019
                  23                                                                      · Telephone: (619) 334-9979 ·

                  24                                                                       Attorneys for Plaintiff and the Class
                  25

                  26

                  27

                  28
                                                                                       - 62 -
                               CLASS ACTION COMPLAINT
                              Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 72 of 83
  •...           · .. ,.
  A HORNEY OR PARTY WITHOUT ATTORNEY JName.
   FINKELSTEIN & K.RJNSK LLP
                                                         State Bar number. and address):
                                                                                                                                                       llillllf  H!lf
                                                                                                                                                          20999538
                                                                                                                                              FORt..vun, --- ~

   Jeffrey R. Krinsk (109234)/Joshua Anaya (265444)
   550 West C Street, Suite 1760
   San Diego, CA 9210 I
                      (619) 238-1333
              TELEPHONE NO.:
  ATTORNEY FOR (Name):Plaintiff Jesika Vado
                                            FAX NO.: (619) 238-5425
                                                                                                                                 ALAM
                                                                                                                                             l='/l ,;;
                                                                                                                                                   ~               o
suPERIORCOURTOFCALIFORNIA.couNTYOF ALAMEDA
    srREETAooRess: J 225 Fallon Street
                                                                                                                                               ~DA
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                                                                                                                                                            couN;y
    MAILINGADDRESS: 1225 Fallon Street                                                                                                    Der 2 2 20
   err- ANO 21P cooe: Oakland 94612                                                                                         CLtRI( OF                             18
       BRANCH NAME: Rene C. Davidson Courthouse                                                                             :Y --~
   CASE NAME:                                                                                                                                               •
   Jesika Vado v. Champion Petfoods USA, Inc. et al.
          CIVIL CASE COVER SHEET                     Complex Case Designation
0             Unlimited     Limited   D
              (Amount       (Amount                   Counter            D Joinder                  D
              demanded     demanded is                           I
                                               Filed with first appearance by defendant
              exceeds $25,000)
                            $25,000 or less)        (Cal. Rules of Court, rule 3.402)   I DEPT:
                               Items 1-6 below must be completed (see instructions on paM_J).
1. Check' one box below forthe casetypethat best describes this case:' ··      .
     Auto Tort                                                       Contract                                        Provisionally Complex Clvll Litigation
     D          Auto (22)                                            D        Breach of contracvwarranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
     D          Uninsured moionsi         (46f                       D        Rule 3.740 collections (09)            D AntitrusVTrade regulation (03)
    Other Pl/PO/WO (Personal Injury/Property                         D        Olher collections (09)                 D Construction defect (10)
    Damage/Wrongful Death) Tort                                      D        Insurance coverage (18)                D Mass tort (40)
     D          Asbestos (04)                                        D     Other contract (37)                       D Securities litigation (28)
     D          Product liability (24)                               Real Property                                   D Environmental/Toxic tort (30)'
     D     Medical malpractice (45)                                  D Eminent domain/Inverse
                                                                                                                     D above
                                                                                                                       Insurance coverage claims arising from the
     D     Other Pl/PD/WO (23)                                         condemnation (14)                                      listed provisionally complex case
    · Non-Pl/PD/WO (Other) Tort                              - ·· · · ~\lfongful eviction (33)                             types (41)
     0· 'Busmess tort/unfair business pra~ (07) D                             Other real property (26)      ·~       Enforcement of Judgment
     D. Civil rights (08)                                            Unlawful Detainer                               D     Enforcement of judgment (20)
     D Defamation (13)                                               D        Commercial (31)                        Miscellaneous Civil Complaint
     D Fraud (16)                                                    D        Residential (32)                       D     RIC0(27)
     D · Intellectual property (19)                                  D        Drugs (38)                             D     Other complaint (not specified above) (42)
     D          Professional negligence (25)                         Judicial Review
                                                                                                                     Miscellaneous Civil Petition
     D          Other non-Pl/PD/WO tort (35)                         D        Asset. forfeiture (05)
                                                                                                                     D     Partnership and corporate governance (21)
     Employment                                                      D        Petition re: arbitration award (11)
                                                                                                                     D     Other petition (not specified above) (43)
     D          Wrongful termination (36)                            D        Writ of mandate (02) .
    D           Olher employment (15)                                0        Other judicial review (39)
2. This case W is         LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:                                                            · .. ·     · ·
         a.   D            Large number of separately represented parties                  · d.   D Large number of witnesses
         b.   0            Extensi~e motion practice raising difficult or novel             e.    D Coordination with related actions pending in one or more courts
                           issues that will be time-consuming to resolve                               in other counties. states, or countries, or in a federal court
         c.   D            Substantial amount of documentary evidence                       f.    D    Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.@ monetary b.@ nonmonetary; declaratory or injunctive r~lief · c. 0punitive
4. ·Number of causes of action (specify): 7: Misrep;CLRA; False adv; UCL;Breach:express,implied; Quasi-contract
5. This case         is       0           D
                                  is not a class action suit.                                    ·   .      · ~ _ .
                                                                                             eJ<flm 9J·O)<j.)
6. If there are any known related cases. file and serve a notice of related case. (You mf)V(fl
Date:         /              0 ·- 'c,
                        Z. ... Z. ;)/              J"
Jeffrey R. Krinsk
                                      (TYPE OR PRINT NAME)

                                                                                           NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    Linder the Probate Code. Family Code, or Welfare and Institutions Code). (Cal. Rules of Court. rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.                                 .
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court. you must serve a copy of this cover sheet on all
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  • Unless this is a collections case under rule 3.740 or acomplex case, this cover sheet will be used for statisfical purposes onlv..
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               Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 73 of 83
    Jesika Vado v. Champion Petfoods USA, Inc., Docket No. RG18925598 (Cal. Super. Ct. Oct. 22, 2018), Court Docket




                                     General Information



Court                                California Superior Court, Alameda County

Docket Number                        RG18925598

Status                               OPEN




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                                                                                                                 // PAGE 65
Case Details - DomainWeb                                                    Page 1 of 2
             Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 74 of 83




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       Case Summary         Register of Action           Participants

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Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 76 of 83
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 77 of 83
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 78 of 83
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 79 of 83
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 80 of 83
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 81 of 83
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 82 of 83
Case 3:18-cv-07118-JCS Document 1 Filed 11/21/18 Page 83 of 83
